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Exhibit C - Deposition of Set.
Russell Backman
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Russell Backman Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.
Page 124
1 CERTIFICATE OF COURT REPORTER
2

STATE OF NEVADA )

COUNTY OF CLARK )

5 I, Heidi K. Konsten, Certified Court Reporter
6 licensed by the State of Nevada, do hereby certify
7 that I reported the deposition of RUSSELL BACKMAN,
8 commencing on October 3, 2024, at 1:10 p.m.

9 Prior to being deposed, the witness was duly

10 sworn by me to testify to the truth. I thereafter

11 transcribed my said stenographic notes via

12 computer-aided transcription into written form,

13 and that the transcript is a complete, true and

14 accurate transcription and that a request was not
15 made for a review of the transcript.

16 I further certify that I am not a relative,
17 employee or independent contractor of counsel or
18 any party involved in the proceeding, nor a person
19 financially interested in the proceeding, nor do I
20 have any other relationship that may reasonably

21 cause my impartiality to be questioned.

22 IN WITNESS WHEREOF, I have set my hand in my

23 office in the County of Clark, State of Nevada,

24 this October 21, 2024.

25 deiaud Yomrurn

Heidi K. Konsten, RPR, CCR No. 845

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Russell Backman Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.
Page 1
1 UNITED STATES DISTRICT COURT
2 DISTRICT OF NEVADA
3 * ke ke ko

4 LATIA ALEXANDER,
individually as heir of

5 ISAIAH T. WILLIAMS and in
her capacity as special

6 administrator of the Estate
of ISAIAH T. WILLIAMS,

7
Plaintiff,
8
vs. CASE NO.
9 2:24-cv-00074-APG-NJK

LAS VEGAS METROPOLITAN
10 POLICE DEPARTMENT, a
political subdivision of
11 the State of Nevada; KERRY
KUBLA, in his individual
12 Capacity, et al.,

ee eee ee eee ee ee ee eee eee ee ee ee ee we we

13 Defendants.

14

15 VIDEOTAPED DEPOSITION OF

16 RUSSELL BACKMAN

17 Taken on October 3, 2024

18 at 1:10 p.m.

19 By a Certified Court Reporter

20 Las Vegas, Nevada

21

22

23 Stenographically reported by:
Heidi K. Konsten, NV CCR 845, RPR

24 JOB NO. 57948 - Firm No. 116F

25

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Russell Backman Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.
2 4

1 Videotaped deposition of RUSSELL BACKMAN, 1 LAS VEGAS, NEVADA

2 Volume I, stenographically taken at 400 South

3 Seventh Street, Suite 300, Las Vegas, Nevada, on 2 Thursday, October 3, 2024

4 Thursday, October 3, 2024, at 1:10 p.m., before 3 1:10 p.m.

S Heidi K. Konsten, Certified Court Reporter in and 4 DEPOSITION OF RUSSELL BACKMAN

6 for the State of Nevada. 5 chee

7

8 APPEARANCES OF COUNSEL 6

9 For the Plaintiff: 7 THE VIDEOGRAPHER: Good afternoon. We
20 Le a ee 8 are now on the record. This begins the videotaped

Murphy's Law
2620 Regatta Drive

h
eB

9 deposition of Russell Backman. Today's date is

Suite 102 10 October 3rd, 2024. The time on the video monitor
12 Las Vegas, Nevada 89128 11. is 1:10 p.m.
i oe 12 We are located at 400 South Seventh
14 For the Defendants: 13 Street in Las Vegas, Nevada. This case is
a cae earn ESQ. 14 entitled Latia Alexander, et al., versus Las Vegas
ae eos ee pnarorive 15 Metropolitan Police Department, et al. The case
Las Vegas, Nevada 89145 16 number is 2:24-cv-00074-APG-NJK in the United
a7 (702) 382-0711 17 States District Court, District of Nevada.
aa cae 18 My name is Dawn Beck, legal
Also present: 19 videographer. The court reporter is Heidi
19 20 Konsten. We represent Lexitas.
- Dawn Beck, Videographer 21 Will counsel please state your
21 eee kee 22 appearance for the record and whom you represent.
22 23 MS. MURPHY: Good morning -- or good
- 24 afternoon. Corrine Murphy, Bar Number 10410, on
25 25 behalf of plaintiff.
3 5
1 INDEX 1 MR. ANDERSON: Craig Anderson for the
2 Page 2 defendants.
SRESUS SELL AE BCEEN 3 THE VIDEOGRAPHER: Will the court
4 Examination by Ms. Murphy S 4 reporter please swear in the witness.
5 te tf * 5
e 6 Whereupon,
7 ESB ELE S 7 RUSSELL BACKMAN,
co: Description Page 8 was called as a witness, and having been first duly
ee Notice of deposition 6 9 sworn to testify to the truth, was examined and
0 Bene ve 10 testified as follows:
11 11
a 12 EXAMINATION
a 13. BY MS. MURPHY:
a3 14 Q_ Let the record reflect this is the time
a 15 and place of the deposition of Russell Backman in
as 16 the matter of Latia Alexander, et al., versus
7 17 Las Vegas Metropolitan Police Department, et al.,
oe 18 Case Number 2:24-cv-00074.
ae 19 Mr. Backman, my name is Corrine Murphy,
20 20 and I'm an attomey. | represent the plaintiff,
a 21 Latia Alexander, in this case.
a2 22 Can you please state and spell your full
ao 23 name for the record?
=a 24 A Yes. It's Russell Backman. And it's
oe 25 R-U-S-S-E-L-L, Backman, B-A-C-K-M-A-N.

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6 8
1 Q_ Do you have a middle name? 1 from Mr. Anderson's office to prepare for today's
2 A Yes. 2 deposition?
3 Q_ What's your middle name? | 3 A No.
4 A_ Leo, L-E-O. 4 Q Okay. And other than meeting with
5 Q_ And you have been -- I'm assuming that 5 Mr. Anderson, what else did you do to prepare for
6 you have seen a copy of the notice of today's 6 today's deposition?
7 deposition -- 7 A_ |read my CIRT statement.
8 A Yes. 8 Q_ And if | -- if -- just to -- | believe
9 Q_ -- requiring you to be here. 9 that! have that one as well. That was
10 MS. MURPHY: And | don't have that 10 approximately 75 pages.
11 with me, Madam Court Reporter, but I'll get that. 11 Are you talking about your recorded
12 And if we can please mark that as Exhibit 1. 12 statement?
13 (Exhibit 1 was identified.) 13 A Yes, ma'am.
14 BY MS. MURPHY: | 14 Q Okay. And how -- okay. And other than
15 Q_ And that -- you understand that today |15 reviewing your -- your CIRT statement, did you
16 we're here to discuss the officer-involved 16 review anything else?
17 shooting of Isaiah Williams? 17 A_ Yes. | reviewed the final CIRT report.
18 A Yes. 118 Q Okay. And that report is pretty
19 Q_ Have you ever given your deposition | 19 lengthy.
20 before? 20 Did you read that entire report?
21 A No. 21 A | went through a lot of it, yes.
22 Q_ And is there any reason, as we sit here 22 Q Okay. And did you read all of the
23 today, that you would not be able to understand my | 23 conclusions, which is, | think, approximately the
24 questions and give your best, most truthful 24 last 20 pages?
25 testimony? 25 A Yes, | read it.
; 7 9
1 A No reason. 1 Q Okay. And I'll ask you more about those
2 Q Okay. Are you any -- are you under any 2 later.
3 medications or anything that would inhibit your 3 Is that a complete list of what you did
4 ability to provide truthful and reliable -- 4 to prepare for today's deposition?
5 reliable testimony today? | 5 A_lalso read another statement that was
6 A No. 6 given prior to -- by Officer Bertuccini.
7 Q Okay. Can you please state your address 7 Q_ Okay.
8 for the record? 8 THE COURT REPORTER: I'm sorry. I'm
9 9 going to have to have you speak up, sir. By
10 10 officer whom?
11 Q_ Thank you. 11 THE WITNESS: Bertuccini. Bertuccini.
12 Could you please tell me everything that 12 BY MS. MURPHY:
13 you did to prepare for today's deposition. 13 Q_ And was it his CIRT statement that
14 A. As far as preparation, | met with 14 you -- his recorded statement that you read?
15 Mr. Anderson. 15 A_ It was the statement from here.
16 Q_ And | don't want to know how long -- | 16 Q_ Oh, his deposition transcript?
17 don't want to know what was discussed between you | 17 A Yeah.
18 and Mr. Anderson. I'm not entitled to know that. 18 Q Okay. And having gone through
19 That's confidential, attorney-client privilege -- 19 Officer Bertuccini's deposition transcript, was
20 or, sorry, privileged information. 20 there anything in there that surprised you?
21 But | would like to know how long you 21 A_ No.
22 met with Mr. Anderson and how many times. 22 Q_ Was there anything that you disagreed
23 A_ | met with Mr. Anderson two times, 23 with?
24 approximately 45 minutes, probably, each time. 24 A Imnot -- no.
25 Q_ Okay. And did you meet with anyone else 25 Q_ Okay. Did you bring any of the

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Russell Backman Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.
10 | 12
1 documents that you reviewed with you here today? 14 A_ It was just general studies.
2 A No. | 2 Q Okay. And when -- are you a member of
3 Q_ Okay. And other than | 3 any professional organizations related to your
4 Officer Bertuccini's statement -- or deposition 4 profession?
5 transcript, have you read any of the other | 5 A. As far as?
6 officers' deposition transcripts? | 6 Q_ | don't -- like a shooting club or like
7 A No. | 7 an officers -- you know, pride club or --
8 Q Okay. Have you discussed the | 8 A No.
9 deposition -- your deposition here today with any | 9 Q. Okay.
10 of the codefendants? 10 A_ No.
11 A No. 11 Q_ Allright. And what's your current
12 Q_Is your supervisor aware that you're 12 position?
13 here today? | 13 A_ |I'masergeant assigned to the SWAT
14 A Yes. 14 team.
15 Q Is this part of your normal working 15 Q_ Okay. And you're still on SWAT?
16 schedule? 116 A Yes, ma'am.
17 A Yes. 17 Q_ And sois it fair for me to assume that
18 Q_ Okay. So you got a day off today to |18 you're in the same position as you were when this
19 come do this deposition? | 19 officer-involved shooting occurred?
20 A Yeah. | 20 A Yes.
21 Q_ I don't know which one is better or |21 Q Okay. And can you please run me through
22 worse. |22 your positions prior to that.
23 A Weill find out. 23 A Positions prior to that, | was a --
24 Q_ Correct. 24 well, if you want to start backwards -- or do you
25 Okay. And so I'm going to ask you some | 25 want to go chronologically? | can go either.
11 13
1 background questions now. 1 Q_ Why don't we start at the beginning and
2 And do you prefer that | call you 2 then lead up to --
3 Russell or Sergeant Backman? 3 A Okay.
4 A Youcan call me Russ. That's cool. 4 Q_ -- your positions with --
5 Q_ Russ. Okay. 5 A_ In the beginning, obviously | started
6 Russ, you're currently living in 6 off as a patrol officer, like every other officer
7 Henderson. 7 does on the police department. | was then
8 How long have you lived here for? 8 assigned, after several years, to a
9 A_InLas Vegas or in Henderson? 9 problem-solving unit.
10 Q_ Well, both. 10 From that problem-solving unit, | was
11 A_ I've been in the valley since 1997. 11 assigned to the vice section. From the vice
12 Q Okay. And how long have you been at 12 section, | was assigned to the narcotics section,
13 your Henderson address? 13 where | spent five years. And then | was also
14 A_ Since 2019. 14 assigned to the criminal intelligence section
15 Q_ And is it fair for me to assume that you 15 after that as a detective.
16 have no intention of moving currently? 16 And then after the criminal intelligence
17 A_ No, | don't have any intention. 17 section, | went back to patrol for a period.
18 Q_ Allright. What's your highest level of 18 After that, | went back to the major violator
19 education? 19 section, which is -- used to be called repeat
20 A Some college. 20 offenders, but it's major violators now -- as a
21 Q_ Okay. Where did you attend some 21 detective.
22 college? 22 And | promoted out of there as a
23 A CSN. 23 sergeant. Went back to patrol for a brief period.
24 Q_ Okay. And what -- what partial degree 24 And then after my patrol time and -- my patrol
25 did you obtain there? Like, what was your focus? | 25 time, | went back to major violators as a sergeant
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14

for about -- approximately 11 months. And then
after that, | was assigned to the SWAT team where
| am currently -- currently at now.

Q_ Okay. And you had gone back to patrol
because you had a DUI issue; correct? There were
some drinking issues?

A (Nodding head.)

Q_ Okay. Is that correct?

A Yeah.

Q_ Okay. What is -- what's a |
problem-solving unit?

A Basically it's the plainclothes unit
that's assigned -- is assigned to do any type of
follow-up investigations as far as investigative
issues within the area command that you work.
Like, you know, there's different area commands.
And you're assigned there to investigate anything |
from property crimes, robberies, violent crimes,
street-level crimes, street-level narcotics, stuff
like that. It's a plainclothes unit usually.

Q_ Okay. And prior to your position in
SWAT, is -- did you do any CET entries or serve
any search warrants as part of -- in part of your
duties in these other units?

A Years ago in narcotics, yes.

OONDAA WH =

Q Okay. And how long -- and so narcotics,
based on the chronology that you have given me,
was very early on in your career.

What years did you work for narcotics
during?

A 2006 to 2010.

Q Okay. And so | asked a double question,
so I'm going to split it up.

Did you do CET entries as part of the --
any search warrants that you served --

A_ Do you mean --

Q_-- for narcotics?

A Explain --

Q_ Sorry. The control -- the C-E-T,
controlled entry tactic, the --

A_ The controlled entry tactic, at that
time, | never knew anything about that.

Q Okay. And so what -- when you served
search warrants as part of the narcotic unit, how
would you serve those?

A_ That would be done at the squad level,

depending on how big the structure was. And it |

would be under the supervisor of -- the narcotics
sergeant at that time and whoever was the case
agent and the detective.

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15]

OANA AA WH =

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22

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24
25

16

Q Okay. And so | guess my -- if | worded
the question poorly, like -- was it, like, knock
and announce and that kind of thing?

A Yes.

Q_ Okay. Did you do, like, explosive
entries or --

A No.

Q_ Okay.

A_ No, no, no.

Q Okay. Do you have any specialized
certification?

A For what?

Q_ For your job. Do you have any, like --
| mean, other than being a SWAT officer. | know
that in and of itself is a specialized
certification.

A Right.

Specialized certification as far as?

Q_ Sol'll give you an example.

Some of the other gentlemen that | have
deposed in this case, they've talked about they
had -- one gentleman, | think he had, like, a
specialized certification for explosive entries.
They had some -- that kind of specialized
certification.

17

A_ No, | don't have anything like as far as
that, no.

Q_ Okay.

A I'm not -- I'm not -- no.

Q Okay. Okay. Can you please explain to
me what "knock and announce" means to you.

A_ Knock and announce, are you talking --
which -- which way we going, state or federal,
here?

Q_ Well, so all -- that's a really good
question, and I'm glad you asked me that. And
that allows me to, kind of, give us some
groundwork for how | want you to answer the
questions for the deposition.

You were serving this at a state level;
correct? | mean, the way that you were serving
this -- this search warrant, obviously you're
acting within the state of Nevada; correct?

A_ Uh-huh.

Q_ And so it would be the -- it would be
the parameters on the state level -- you tell me.

What -- as you were serving this
warrant --

A_ Right.

Q_ -- what parameters applied to you, state

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NPN DYDD = a= ww a eo | oa or or
AEWNHNADODBNAMAWNH BOOP ONONTAWNH =

SOON OMA WD =

18

or federal?

A. As far as -- for -- under both.

Q_ Okay.

A Yeah.

Q Okay. So then if you can give me both,
then, what does -- what does "knock and announce"
to you mean under the state standard and under the |
federal standard?

A Okay. The federal standard is being a |

reasonable amount of time for someone to come
to -- come answer the door. State standard, which
is an NRS, and | believe it's -- which one is the
NRS you're talking about? Because there's a
couple in there.

Q You -- we can just say NRS. | don't
know the code number.

A Okay. All right. |

Q_ | don't even think Craig does.

A Yeah. And for -- NRS, it means after
you've notified your presence and authority and
your intent to serve a search warrant, it would be
there's no answer at the door, they don't know
that you're there.

Q Okay. But, of course, | mean -- well,
you tell me.

training record. Maybe it's on there. | --

20

A You know, you would have to look at my

Q_ No, no, no. That's --

A_ | apologize.
Q_ -- totally okay. Let me ask it a little
bit differently.

Do you think -- as we sit here today, do
you think that you were likely aware of these
standards on the -- on January 10th, 2022?

A Yes.

Q Okay. And you said "a reasonable amount
of time."

To your knowledge, is there any, like,
minimum amount of time? Like, is there any
parameter of, like, hey, it can't be less than
this?

A_ No. It's areasonable amount of time
based on -- you know, is there exigency or what
type of crime you have? Is there a propensity of
violence? !s there a violent individual in there?
Are they willing to take up arms -- arms? Are
they heavily armed? Are they -- can they fortify
themselves inside that structure with it?

There's -- there's a bunch of different
parameters that can come into play with that --

19

Is it your understanding that ultimately
the federal standard is the one that prevails?

A_ Federal always supersedes state, |
believe, if I'm correct.

Q_ Okay. So is it -- so then was it your
understanding that the standard of a reasonable
amount of time applied the day that you were
serving this search warrant?

A Yes.

Q_ Okay. And by the day, of course | mean
January 10, 2022.

A Yes, ma‘am.

Q Okay. And so -- okay. And can you tell
me what parameters -- and so you -- you
articulated both the state and the federal
standard really well.

Was that part of your training for SWAT,
that you were educated on that, or did you know
that already?

A_ Gosh, I'm trying to think. | was
assigned to the SWAT team 29 days. If | received
that training while | was there, | don't -- I'm
trying to think if | -- | don't recall that part.

Q Okay. Would it -- let me ask the
question a little bit differently.

20
21
22
23
24
25

21

Q_ Okay.

A_ --as far as, like, a hostage situation
or something. That's totally different. But
that's -- that's a situation where that's
life-threatening exigency.

Q Okay. And can you explain to me --

we've kind of gone over it a little bit, but |
kind of want -- | wanted, like, a real statement
from you.
What is your understanding of the
purpose of knock and announce?

A_ The purpose of knock and announce is to
notify the occupants that you're there to serve a
search warrant and notify them of your presence,
authority, and your purpose.

Q_ Do you understand that it is part of a
person's constitutional right to have clear notice
of a police officer's intent to enter?

A_ Do! understand that?

Q Yeah.

A Yes.

Q Okay. What's the first and most
important constitutional right that any individual
has?

A_ Well, they're alt important. Right?

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22 | 24
1 Q_ Uh-huh. | 1 Q Okay. And this may seem like a basic
2 A_ | think they are. | 2 question and in itself explanatory, but | still
3 Q_ Do you think that there's one that's the | 3 want your answer on the record for it.
4 most important? | 4 What's the difference between a no-knock
5 A_ Fourth Amendment. 5 warrant and a knock warrant?
6 Q_ That's what you think is the most | 6 A Ano-knock warrant means prior to
7 important? | 7 entering the structure, there's no announcements.
8 A Well, | mean, Fourth Amendment andthe | 8 It's ano-knock. You don't make those
9 First Amendment. | 9 announcements until you actually enter the
10 Q_ Right. 10 threshold of the structure itself.
11 A Freedom of speech, press, and religion. | 11 Q Okay. Can you get a no-knock warrant on
12 | think that's probably the most important. |12 property-only search warrants?
13 Q_ Okay. In performing your job as a | 13 A_ No. Not that | -- well, | -- | should
14 police officer, do you agree with me that you have 14 say depending on how it was articulated, but |
15 a duty to conduct yourselves such that you do not | 15 would say no.
16 violate the civil or constitutional rights of 16 Q Okay.
17 members of the public? |17 A_ | would say that was -- no, correct.
18 A Yes. | 18 Q_ And so when are no-knock warrants used
19 Q_ Do you agree that if you see other 19 generally then?
20 officers violating the civil or constitutional | 20 A_ No-knock warrants are used for somebody
21 rights of a member of the public, you have a duty | 21 that's an extremely violent individual that is
22 to intervene and stop that officer? 22 heavily armed, that would have the ability to
23 A Yes. 23 possibly take arms up, harm an individual inside
24 Q_ What is a no-knock warrant? |24 the actual structure itself or wherever it's at.
25 A Well, a no-knock warrant is a search | 25 A no-knock could also be utilized for --
|
23 | 25
1 warrant -- and I'll go through the process of it, 1 depending on if it's a violent individual that's
2 of how it's actually done, because | think that's | 2 heavily armed or somebody that's very violent,
3 where you're going with this. 3 when the officers are serving it -- their
4 Am | correct? 4 positions versus where the suspect would possibly
5 Q_ Uh-huh, yes. 5 be located at and if they would be in harm's way
6 A Soit's -- essentially a no-knock 6 ornot.
7 warrant is a search warrant that -- it would be -- 7 Q_ Okay. And | always say it wrong. |
8 onthe SWAT section would be a -- an affidavit 8 think it's “set,” but is it actually C-E-T? Do
9 would be prepared by a detective. They would 9 they call it "set" or C-E-T?
10 articulate the verbiage in the no-knock search 10 A C-E-T.
11 warrant for it to be a no-knock search warrant. 11 Q_ CET. Allright. | always call it
12 And they would get approval from their 12 "set." Sorry.
13 supervisor and their chain of command for a 13 What is a CET?
14 no-knock search warrant. In order for that -- 14 A_ It's acontrolled entry tactic.
15 approval for that search warrant, that goes to 15 Q_ And can you tell me what the purpose of
16 them at their level. And then the -- forthe SWAT |16 a CET is?
17 side, it would be approved by the sergeant. But 17 A_ The purpose of a controlled entry
18 atthe time, it was the captain. So it was a 18 tactic, there's obviously some parameters -- the
19 little -- the approval process was different. '19 purpose of the controlled entry tactic is to enter
20 But in order to have that search warrant 20 astructure or dwelling dynamically in order to
21 approved, it would have to be approved all the way | 21 overwhelm and take people into custody prior to
22 up the chain of command to the deputy chief on -- | 22 them taking up arms, destroying evidence, before
23 onthe no-knock search warrant. And then it would | 23. taking up arms.
24 obviously have to be DA approval and signed by a | 24 It’s for -- it's for a safety issue, the
25 judge. 25 essential part of the CET. And that tactic is
rf is it e
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26 | 28
1 utilized to flood that structure -- flood that 1 announce?
2 structure and deem it -- dynamically to make it 2 A Acall-out -- you're talking about the
3. safe. 3 surround and call-out?
4 Q_In this case, was the structure flooded 4 Q_ Yes.
5 and dynamically made safe? 5 A Okay. A surround and call-out --
6 A Dynamically and made safe? 6 Q_ And, listen, I've been in this case, but
7 Q. Was it? 7 Istill get some of the acronyms and names mixed
8 A_ It was afterwards. After we got shot at 8 up alittle. So feel free to correct me on
9 18 times. 9 everything so that the record is accurate.
10 Q_ Right. But upon the entry, was this 10 A Okay. So a surround and call-out -- a
11 dynamically made safe? 11. surround and call-out is basically we will
12 A_ Upon entry, we were fired upon 18 times. | 12 surround the outer part of the structure,
13 Q_ Right. So it's a yes-or-no answer. 13 establishing containment on it with BearCats,
14 A_ The answer was after the shooting. 14 which will be our armored vehicles. We'll place
15 Q_ No. My answer -- my question is, when | 15 them in positions either in front of the house, on
16 you entered the unit, was this -- did this CET 16 both of the corners, establish containment. We'll
17
18
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17 entry make the unit dynamically safe? | also put officers on the rear of the residence and
18 MR. ANDERSON: Objection. Form. on each side of the residence.

19 Go ahead and answer. Once we have sufficient containment on

20 THE WITNESS: No. | mean -- the exact structure itself of the residence and
21 BY MS. MURPHY: everybody is set in place and it's -- we're not

22 Q Can you use a CET entry ona seeing any movement or anything -- or anything
23 knock-and-announce warrant? that's making us -- give us any alarms, we'll
24 A ACET is a -- at that time, that was a 24 start the announcement process via the PA or the
25 knock-and-announce warrant. 25 LRAD that's attached to the BearCat.
27 29

1 Q_ Okay. As we sit here today, can you use 1 We'll give the announcements for several

2 aCET entry - can you use a CET entry ona 2 minutes, depending on what the case may be. And
3 knock-and-announce warrant? 3. if we're not getting a response from inside, we'll

4 A No. 4 usually go with a plan. We also try to telephone

5 Q_ Okay. In your opinion, do you think 5 call-in as well, if we have a phone number for the

6 that there was a conflict between knock and 6 individuals that are inside.

7 announce and a CET? 7 And that's all situational, based on the

8 A_ In my opinion at the time? 8 intelligence that we get from the detectives. And

9 Q Yes. 9 then we just go through our progressives. And

10 A_ At that time? 10 then after that, we would start our breaching plan
11 Q Yes. 11. if we got no response.

12 A_ No. 12 Q Okay. And because you were the -- you

13 Q_ Okay. What about your opinion today? 13 have given two very good descriptions of them.

14 A_ My opinion today, after being trained 14 But because you were the sergeant on this, | want
15 and going through some other things, depending on | 15. to ask you, for the record, to state, what is the

16 what it's for and how it's articulated and what 16 difference between a CET and a call-out -- or the
17 the -- what the intel sheet report would -- would 17 call-out?

18 dictate on that exact answer. 18 A Acontrolled entry tactic is a dynamic

19 It's all situational, depending on the 19 movement inside the structure to where we're going
20 type of intelligence is there. And is there a 20 to take people into custody -- right? -- after a

21 violent person in there? Is -- are they -- do 21 knock and announce -- after the announcements.
22 they have the ability to take up arms? Those 22 The difference between that and a

23 would all be the factors of the CET with the 23 surround and call-out is we're trying to get

24 knock-and-announce part. 24 inside that structure to deem it safe, because we
25 Q Okay. And what is a call-out and 25 know that there could be a violent individual in

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there that could potentially take up arms. Ona
surround and call-out, with that case like that
and as far as the CET -- let me back up here.
There's also some environmental factors
along with the CET. You could look at the
positioning. Was it -- is it a single-story
apartment complex? Is it a two-story apartment
complex? Is it a single-story house or a
two-story house? Where is it located at? Is it

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32

have been a day off. | saw it hit the SWAT

warrants, but | didn't -- | just kind of figured

it was being worked out by the people above me.
THE COURT REPORTER: | need you to

keep your voice up, please.
THE WITNESS: Okay.

BY MS. MURPHY:

Q_ And so you were -- would it be fair for
me to say you were kind of peripherally aware? So

10 an apartment complex where there's an apartment | 10 a warrant came in, but --
11 with an interior hallway? 11 A_ Yeah, you get the email notification on
12 Those are all mitigating factors on | 12 your phone. It doesn't go away, even though
13 whether or not you can sufficiently contain an 13 you're off.
14 actual structure or an actual residence orhouse | 14 Q. Okay.
15 or whatever you're trying to serve the search | 15 A It's always on.
16 warrant at. 16 Q_ Fair enough.
17 Q_ And just specifically for this | 17 And -- and then what -- when did you
18 incidence, it was a -- or incident -- sorry -- it 18 become, like, familiar with -- with the actual
19 was a CET; correct? 19 warrant? Do you know what | mean by that?
20 A Yes. We utilized the controlled entry 20 A When was approval to be served? It
21 tactic. | 21 would have been, | believe, Sunday when | went
22 Q_ Aswe sit here today, LVMPD policies 22 back into work.
23 would not allow for this type of CET to be used 23 Q_ Okay.
24 for this type of warrant; correct? | 24 A_ If | recall correctly. it was either
25 A. Asit sits now, we'd have to get |25 Saturday or Sunday.
31 33

1 authorization and approval from the SWAT 1 Q Okay. And at that time, were you part
2 commander. 2 of the -- there was recon that was done on this;
3 Q_ Well, didn't you have to get 3. correct?
4 authorization and approval for this back in 2021? 4 A Yes. We went into work. We knew that
5 A Yes. 5 we had a search warrant to serve. | got with the
6 Q Or2022. Sorry. 6 ATL, Jake Warner -- because | was a
7 A Yes. Yes. 7 sergeant-in-training, and the actual sergeant --
8 Q Okay. But as we sit here today, haven't 8 team sergeant at the time was Garth Findley.
9 LVMPD policies been changed so that you could not | 9 He was off that day, so | was getting
10 serve this type of warrant with a CET? 10 the warrant preparation parts done. So Jake
11 A Correct. 11 Warner -- | talked to Jake Warner and said we had
42 Q_ Okay. All right. And so now we're | 12 awarrant to serve. And then we got recon
13 going to -- we've kind of danced around it a 13. officers assigned to go out and conduct the
14 little bit, but now we're going to jump into the 14 recon --
15 actual facts. And we'll start with -- and | know 15 Q_ And --
16 you've read your statement. You -- you gave that | 16 A_ -- for that --
17 within days of the incident itself. 17 Q_ Sorry.
18 And you were very detailed in there, so 18 A_ -- for that -- yeah.
19 I'm assuming that you're going to be detailed -- 19 Q_sI'll try not to interrupt you.
20 you've been detailed so far. So I'm just going to 20 A_ Go ahead.
21 ask you some background questions, and we'll get | 21 Q_ Sorry.
22 into the facts. 22 A_ Go ahead.
23 So when was the -- your first awareness 23 Q_ No, no, no. | don't want to interrupt
24 of the warrant? 24 you ever.
25 A. First awareness of the warrant would 25 A_ Go ahead.

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Q_If you're not done answering, say "I'm
not done."
A_ Go ahead.
Q_ Soin terms of -- so when you say
"ATL" -- does that mean assistant team leader?
A Yes, assistant team leader, and that
assistant team leader --
THE COURT REPORTER: Okay. I need you
both to slow down and talk one at a time.
BY MS. MURPHY:
Q_ When! say "ATL," does that mean
assistant team leader?
A Yes.
Q_ Sorry. I know. Sorry.
All right. And, so, for the record, can
you please just make that statement one more time
so the court reporter can get it?
A Assistant team leader is ATL.

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A Okay.

Q_ You -- at this point in time, you had
only been a sergeant in SWAT for a couple of
weeks; correct?

A Yes.

Q_ Okay. And so you're sitting down with
the ATL to kind of say, "Hey, this warrant's come
in. We're going to get a plan together for it";
correct?

A Correct.

Q_ Okay. If you had been out of the
training period, would you have also still sat
down with the ATL to put the plan together?

A Ofcourse.

Q_ Okay. I'm just trying to figure out
exactly what the functions look like.

And so would you have been the one that
was kind of saying, "Hey, this is how I'm going to

Q_ Okay. 19 put it together,” or would it still have been the
A Yes. 20 ATL that said, "This is how we're going to put it
Q_ And so explain to me kind of what 21 together"?
position the -- what does ATL mean? | 22 A_ They come back -- they go out and they
A It's an assistant to the team leader. |23. do the recon. They go out. They look at the
Q_ Sorry. That was a bad question. 24 structure. They look at all of the -- the
What is their role in terms of, like, 25 environmental factors: Where the doors are at,
35 37
1 functioning with what you're doing and how they're | 1 where it's located at, all of that stuff like
2_ involved with -- 2. that.
3 A They assist with the day-to-day planning 3 And they bring it back, and then they
4 and operational -- anything that comes in 4 start formulating the draws and they start putting
5 operationally, they -- they assist with putting -- 5 it together, the recon guys do. And then they
6 they put the plans together. They get guys 6 give that information to the ATL, and then we look
7 moving. They assist with the team and the actual | 7 at -- the ATL looks at, kind of, like, how to
8 assignments of where the guys are going and what| 8 approach that structure from a tactical position.
9 needs to be done. 9 Q Okay. And at the time that you were
10 Q_ Okay. And so the ATL was working with | 10 formulating the plan with the ATL or the ATL was
11 you to come up with a plan on how to serve this 11 formulating the plan with you, did you understand
12 warrant; is that -- 12 that -- what the search warrant was looking for?
13 A_ The ATL formulated the plan. 13 A Yes.
14 Q_ The ATL formulated the plan? 14 Q_ What was your understanding?
15 A_ Yeah, essentially, and then | sat -- go 15 A_ The search warrant -- my understanding
16 ahead. 16 of the search warrant, it was a murder
17 Q_ No, no, no. Go ahead. 17 investigation, and they were looking for firearms.
18 A Follow up with your question. !18 There was clothing listed on the search warrant
19 Q_ No, no, no. Go ahead. |19 itself. There was a -- | think a cell phone that
20 A_ The ATL assigned the recon guys to go 20 was listed on -- | -- | would have to look at the
21 out before we came up with the plan, yes. 21 search warrant again to go over all the items that
22 Q_ Okay. And so we've kind of gone over it {22 we searched.
23 a few times, but | like to sometimes rephrase 23 But there was also information that
24 stuff, because | want to make sure | understand it | 24 there was a suspect inside that residence that
25 exactly. 25 would -- that was involved in a shooting prior to
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1 from the gang unit. And there was also a 1 Q_ Okay.
2 potential -- suspects in there that were heavily 2 A_ And they were both documented gang
3 armed with the intelligence that we had. 3 members, and they had a prior criminal history for
4 Q_ And what intelligence was it that you 4 narcotics. And Rembert's stepmother had told the
5 had that indicated there were -- could potentially | 5 homicide detective that that was a narcotics
6 be heavily armed suspects inside the unit? 6 flophouse and they were armed.
7 A_ There was a statement given -- there 7 Q_ But for one of them, you had pinned his
8 was -- the homicide detectives received -- on the | 8 ankle monitor right before this incident; correct?
9 search warrant itself, it said that it was a 9 A Correct.
10 narcotic flophouse, that there -- people were 10 Q_ And he was not located inside this --
11 armed in there. And it also mentioned that the | 11 what you want to call a flophouse; correct?
12 affidavit -- in the affidavit, the search warrant 12 A Correct.
13 itself, that Rembert -- Rembert was involved in a | 13 Q Okay. But! -- let me loop back to my
14 shooting -- involved in an illegal shooting. 14 prior question.
15 Q Okay. And Rembert, Wattsel, also had | 15 The way that it was being served was
16 a-- was he the one that had the ankle monitor; | 16 more akin to an arrest warrant; correct?
17 correct? 117 A | would say we -- no. | would say
18 A_ | believe it was Corvel Fisher. 18 that -- that that warrant was being served because
19 Q_ Okay. So did you believe that Rembert | 19 of the propensity of violence, them having arms
20 was likely inside the unit? 20 inside that structure itself. And knowing that
21 A_ From reading the search warrant, yeah. | 217 Rembert was also involved in an illegal shooting,
22 Q_ Okay. But the indication for the search | 22 but there was not an arrest warrant. Detectives
23 warrant, it was a property-only search warrant; | 23 just had probable cause to arrest him. And that's
24 correct? 24 what we were notified of prior to the brief.
25 A_ It was a property-only search warrant 25 Q_ Sorry. Back up. So -- just because |
39 41
1 for that part, right. 1 want to understand this a little bit better.
2 Q But my understanding -- you tell me if 2 Prior to the briefing on this incident,
3. I'm right or wrong -- the way that it was actually 3 you guys were informed right before the -- the
4 administered or executed -- or whatever word you 4 briefing on this incident that they did have
5 want to use -- was that it was really an arrest 5 probable cause to arrest him?
6 warrant. 6 A They had probable cause on one of the
7 You were going to arrest individuals 7 individuals, being Rembert, that he was involved
8 that you felt were involved in a homicide; 8 in an illegal shooting.
9 correct? 9 Q Okay. But you guys weren't actually
10 A_ It was the understanding at the briefing 10 executing an arrest warrant; correct?
11 that there was no -- there was two suspects 11 A We didn't have an arrest warrant.
12. involved in a shooting prior to. There was a 12 Q Okay. Why -- did you think it was weird
13 couple of other incidents where we knew that these | 13 you didn't have an arrest warrant?
14 two individuals that were involved in it had 14 A Atthe time, the detectives said if he's
15 access to weapons. One of them was a -- they were | 15 there, we're going to arrest him. They didn't
16 each both documented gang members. 16 explain to us why.
17 These gang members were documented with | 17 Q Okay. And you thought he would be
18 having a MP5 style rifle removed from their 18 there; correct?
19 vehicle prior to -- prior to this. And there was 19 A Correct.
20 another incident where there was an AR-15 that was | 20 Q Okay. So this property search warrant
21 recovered from another incident too, as well, by 21 was being looked at similar to an arrest warrant;
22 the gang unit. 22 correct?
23 The individuals that were supposed -- 23 A_ | would say that the property search
24 that were -- we thought that would be inside the 24 warrant was looked at -- no. | would say it was
25 structure were Rembert and a Corvel Fisher. 25 looked at because we had violent individuals
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42 | 44
1 inside that apartment complex -- inside that 1 I can recall and | can tell you that
2 apartment that was a 650-square-foot apartment, | 2 while they were out there doing surveillance, they
3 one bedroom, one bath. And they were heavily 3 were burned. And | believe somebody came out from
4 armed inside there. 4 the area of where that apartment was and went over
5 And that's how we looked at that search 5 to the surveillance vehicle and knocked on the
6 warrant, who -- what we thought would -- we knew | 6 window.
7 that we'd -- we'd encounter -- that could be a 7 Q Okay. And so my earlier question still
8 possibility to encounter, and that's why we served | 8 stands, though: Do you know how much -- well, do
9 that -- that's how we served that search warrant. 9 you know how much time was spent actually
10 Q Okay. But you were aware that it was a | 10 surveilling the unit?
11 property only search warrant; correct? 11 A Look, | would have to refer to that
12 A For firearms, yes. 12 report. But | would say it was probably -- there
13 Q_ Okay. Were there -- obviously this 13 were several days that they went out there. |
14 went -- this didn't go as you guys had planned for | 14 think several different occasions they went out
15 a variety of reasons. 15 there.
16 In terms of when you're serving a -- a 16 Q Okay. But | guess my question --
17 warrant like this, with this type of entry, are 17 A Maybe a couple -- a couple shifts. |
18 there certain things that you need to know or rule | 18 don't know exactly how much -- how long they
19 out about the -- like whatever -- whatever 19 spent. You would have to ask the detective
20 structure you're going into? 20 that -- that led the case on that. | was just
21 A Know or rule out? Can you please -- 21 there for the - to serve the actual search
22 Q_ Sure. | 22 warrant.
23 A -- explain? '23 Q Okay. Soit's -- so it's fair for me to
24 Q_ Do you need to know or rule out if | 24 assume, then, as we sit here today -- and probably
25 there's kids present? If there's elderly present? 25 it was the same way back then -- you didn't -- you
43 45
1 If there's animals present? Like, are there 1 don't know if they went out there and sat there
2 certain things that you're supposed to rule out 2 for ten minutes or eight hours?
3 before doing this type of -- 3 A_ Right. | was -- that wasn't relayed to
4 A_ Right. You would also take into 4 me by the -- the detective. He just told -- he
5 consideration, for tactical purposes, whether or 5 just relayed to me that they had surveillance out
6 not there's children there, vicious dogs, elderly, 6 there before.
7 stuff like that, absolutely. 7 Q Would that have made a difference to
8 Q_ Was any of that known prior to serving 8 you?
9 this warrant? | 9 A Would it have made a difference to me as
10 A What we do -- did know prior to serving 10 far as what?
11 the warrant per -- pursuant to what the detectives | 11 Q_ In relying on their information.
12 had told me, that they had never seen any kids 12 AAs far as what information?
13 there while any surveillance was conducted by the | 13 Q_ That there weren't kids present. There
14 surveillance teams. And that it was a narcotics |14 wasn't dogs present. That there was -- that there
15. flophouse, and that there were numerous gang 15 was -- potentially that the actual suspects you
16 members that were associated with that place, is | 16 were looking for were there?
17 what | was told by detectives. 17 A Yeah. | mean, obviously you're going to
18 Q_ Okay. And as we sit here today, do you 18 always take that information for what they give
19 know how much surveillance was done on this unit,| 19 you, and you're going to use that as actionable
20 what - in a buildup to serving this warrant? 20 intelligence, absolutely.
21 A_ | know there were several dates where 21 Q_ Okay. And in terms of the actual
22 there was a squad out there -- a surveillance 22 physical structure itself, are there certain key
23 squad specifically that was out there doing 23 items that you want to know about the physical
24 surveillance on that apartment. | don't -- | 24 structure? For instance, like, is there a
25 can't -- | don't recall the exact specific dates. 25 barricade on the door? Are there window blinds?

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1 Those types of things. 1 what happens there?
2 A Of course. | 2 A That's where -- you know, the whole team
3 Q_ Okay. And it's -- as we sit here today, 3 showed up. We had our personnel, our manpower
4 were there a few different unknowns that were not | 4 there. And we put our drawings up. The guys put
5 known when you approached the unit, you can -- | 5 their drawings up, and we had everybody together
6 that you're now aware of in hindsight? | 6 and we did the briefing --
7 A_ Where at on the unit are you | 7 Q. Okay.
8 specifically asking? | 8 A_ -- along with the detectives.
9 Q_ Well, was it known that there was a -- | 9 Q_ And to the best of your knowledge, can
10 that there was a kick plate on the door? | 10 you walk me through what the briefing entailed?
11 A You mean a brass wrap? | 11 The best of your memory, as we sit here today, can
12 Q_I'msorry. A brass wrap. 1/12 you walk me through what the briefing entailed?
13 A_ Yes. Not -- not at the time of -- | 13 A Obviously the briefing entailed the
14 actually at the recon. Actually, once the guys 14 address, the structure we were going to. It went
15 got up to the door as far as the breaching | 15 down the potential targets that would be in there:
16 element, I'm sure they noticed it. |16 Their names, their criminal histories.
17 Q_ Yeah, was that something that ought to | 17 And during that, there was Corvel
18 have been known beforehand? 18 Fisher, who had the ankle monitor on. And then
19 A Ought to be known? 19 there was Rembert. His prior history was there.
20 Q Yes. 20 They were both -- they're documented gang members.
21 A_ Usually most cases, you always want to | 21. And it went into whether there were kids there,
22 look at the front door, absolutely, and get a good | 22 dogs there -- et cetera, et cetera, et cetera --
23 look atit. | do -- | did understand that while | 23 on the draw itself.
24 they were conducting the recon, that the suspects | 24 And then there was also another draw
25 had hopped the wall and actually went into the 25 with -- where there was the planning of how we
47 49
1 door, and | think the door was open at the time 1 were going to arrive and the route we were taking.
2. that they did their walk-by on the -- 2 And everybody's role and assignments was also up
3 Q_I'msorry. When you say "suspects," are | 3 there as well, about who was doing what.
4 you talking about -- 4 And then there was an actual briefing
5 A | mean -- I'm sorry. Individuals, but | 5 to -- what everybody's assignments were, and there
6 they -- they called them that to me. I'm sorry. | 6 was a brief back, everybody understanding it as
7 It's -- I'm just recalling the verbiage that was 7 weil. And then there was detectives present, too,
8 sent to me. 8 to enlighten everybody there on what their case
9 But there were several males that hopped | 9 was about.
10 the wall and went inside that apartment, 1125, | 10 Q_ Okay. And what was your role on the
11 while they were doing the actual walk-by of the |11 team?
12 recon of the structure. 12 A_ | was the -- | was the sergeant on the
13 Q_ Okay. And why would that be relevant or | 13 team in training. My role for the search warrant
14 important for you to know that information? 14 was | was operating the bullhorn.
15 A Because our apartment was occupied. 15 Q Okay. And were you -- were you in
16 Q_ Okay. All right. So now I'm going to 16 charge of this operation?
17 get into the actual, kind of, mechanics of it. 17 A_ Sergeant Findley was in charge of the
18 So you arrive at Sam's Town; correct? 18 actual tactical operation.
19 What is it? Around 4:00 a.m.? 19 Q Okay. And so then what was -- so were
20 A Sam's Town, yes. /20 you there just for training purposes?
21 Q_ Isn't that where you guys, like -- 21 A | was there in training.
22 A Briefed, yeah. 22 Q_ Okay.
23 Q_ -- briefed. Yeah. I'm sorry. 23 A Yeah. He was -- he was the trainer.
24 So you arrived at Sam's Town. 24 Q_ Okay.
25 And can you, kind of, walk me through 25 A But, yes, !| was there.
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1 Q_ Sorry. | know I'm saying "okay" over 1 approved or not per section policy.
2 and over again. 2 Q_ And who was your lieutenant at the time?
3 And so would it be fair for me to say, 3 A That would have been Lieutenant Melanie
4 then, that it was actually -- I'm just going to 4 O'Daniel.
5 repeat back what you said to me. 5 Q_ And to the best of your memory, as we
6 it was actually Sergeant Findley that 6 sit here today, can you walk me through the
7 was in charge of this operation? | 7 communications that you had with Lieutenant
8 A Yes. 8 O'Daniel regarding getting the CET authorized?
9 Q Okay. And so -- and | think -- | know | 9 A_ | spoke with Lieutenant O'Daniel on the
10 I've read it in your report several times. 10 phone, and | -- we explained to her that it was a
11 But how long had you been on SWAT for | 11 small apartment; we couldn't contain it with
12 when you -- for this incident? |12 BearCats due to the environmental factors.
13 A 29 days. 13 Q_ Sorry. Who is "we"?
14 Q 29 days? 14 A |did. But that was because of -- we
15 A Somewhere where it's -- 15 had gathered from the recon guys and the ATL, we
16 Q Okay. But it -- you were the one doing, | 16 had received that information that we couldn't
17 kind of, the communicating; correct? Like, you (17 sufficiently contain that structure itself. The
18 were the one that sat down with the team -- the 18 propensity of violence of the individuals that
19 ATL. You were the one that said, "We're going to | 19 were in there, knowing that they were heavily
20 do this kind of unit." You're the one -- or this 20 armed potentially, with the prior weapon stops
21_ kind of entry. 21 that they had with the AR-15 and the MP5.
22 You're the one that was contacting 22 And due to the fact that Wattsel
23 different people to get authority to -- for 23 Rembert's mother said that there was a narcotics
24 different items; correct? | 24 flophouse -- | know through my training and
25 A Yes. And | believe | assisted -- | 25 experience, a narcotics flophouse means that
51 53
1 can't speak for them, but | thought Jake Warner 1 there's going to be guns in there usually. That's
2 also contacted Garth, who was off that day, and 2 usually how it rolls.
3 talked to him and spoke with him on the phone of | 3 Narcotic sellers and dealers are --
4 what the -- what the plan was. 4 protect their product, and they have guns. That's
5 Q_ Okay. 5 just -- that's -- that's what happens in --
6 A_ So Garth was aware of what -- of it, as 6 sometimes in these cases.
7 well. 7 So that was the explanation that | gave
8 Q_ Okay. So leading up to the actual 8 to Lieutenant O’Daniel, was there was the
9 execution of the -- of the search warrant, you 9 violent -- propensity of violence, and we were
10 were taking the command role; correct? 10 going after a murder suspect. And there was a --
11 A. Prior to the execution of the search 11. there was an outstanding gun.
12 warrant? 12 Q Okay. And so I'm glad that you brought
13 Q Yeah. So sorry. And let me ask it -- 13 that up, because | want to understand your point
14 A_ The day before | was there helping 14 of view as well.
15 facilitate, getting manpower, getting certain 15 So part of your point of view, as having
16 things done. And then | requested the CET to the | 16 worked these prior units, is that if you hear
17 SWAT lieutenant. Yes, | did. 17 narcotic flophouse, you think automatically
18 Q_ So let's back up a little bit. 18 there's going to be guns --
19 Can you walk me through the -- the 19 A_|didn't say automatically.
20 process of -- of requesting the CET? ' 20 Q Oh, well, | --
21 A Requesting the CET? 21 A_ | said | knew -- | knew from my training
22 Q. Yeah. 22 and experience that there's a possibility they
23 A_ Yes. In order to request for the CET, 23 could be there.
24 you have to notify your lieutenant, and the 24 Q_ And so if | say possibility or
25 lieutenant approves whether or not the CET is 25 probability, do you understand the difference
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Can -- can we kind of go back to that,
and can you walk me through what -- what -- what
distracts you got and what approvals were
necessary for those?
A Okay. Yes. We used the distract on a
stun stick, 25 -- Def Tec 25 on the stun stick.
And then we also used the -- it's called the
9 bang distract, which is essentially a 25 that
goes off nine times as -- as well on this
operation. And the stun stick had to have
approval from Lieutenant O'Daniel.
Q_ And did the 9 bang have to have
approval?
A_ The nine bang itself?
Q_ Yeah.
A_ No. It was just a -- it's just a
normal -- it's just a distract that we use.
Q Okay. Why does the stun stick have to
have approval and the nine bang doesn't?
A_ The stun stick itself was inserted into
the residence. So any time that you insert a stun
stick into a residence, you have to have approval
from the lieutenant, which would be, at the time,
the SWAT commander.
Q_ Okay. And why did you -- why did you

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54 |
1 between those two? | 1
2 A_ | would say probability, because drug 2
3 dealers, they protect their product. And how are 3
4 they going to protect their products? They | 4
5 protect them with guns. | §
6 Q_ Soin the day before executing the | 6
7 search warrant, you thought that it would be a | 7
8 probability that there would be armed and | 8
9 dangerous individuals in the unit; is that 9
10 correct? | 10
11 A Due to the intelligence that we had, 11
12 absolutely, with the prior stops and the -- the 12
13 two suspects that were listed on the incident and 13
14 accident plan. 14
15 Q_ And that is part -- 15
16 A_ They were documented gang members as__| 16
17 well. 17
18 Q_ And that is part of what -- what you -- 18
19 that is part of what you communicated to 19
20 Lieutenant O'Daniel when you were discussing your | 20
21 request to have a CET; correct? 21
22 A Yes. 22
23 Q_ And in addition to the CET, you also had 23
24 some distraction device -- they're called | 24
25 distraction devices; right? | 25
55 |
1 A Yes. 4
2 Q Okay. Can you walk me through what | 2
3 you -- what you also had on this -- for the -- to | 3
4 execute the search warrant? | 4
5 A_l|also had to have approval from 5
6 lieutenant -- Lieutenant O'Daniel to utilize a | 6
7 stun stick, which is a distract device on astick. | 7
8 MS. MURPHY: We've been going alittle | 8
9 under an hour. Why don't we take a short break. | 9
10 THE VIDEOGRAPHER: We are going off | 10
11 record at 1:52 p.m. 11
12 (Whereupon, a recess was taken.) | 12
13 THE VIDEOGRAPHER: We are back on | 13
14 record at 1:59 p.m. 14
15 BY MS. MURPHY: | 15
16 Q_ And, Russ, we just took a short break. | 16
17 But I just want to confirm, the -- the oath that |17
18 you took before we went on break still applies. | 18
19 You understand you're still under oath; 19
20 correct? 20
21 A Yes, ma‘am. | 21
22 Q Okay. And we were -- we had just begun | 22
23 talking about the distract devices that you got | 23
24 approval for to use on this -- this search 24
25 warrant. | 25

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think that it was necessary to have a stun stick
for this search warrant?
A_ Well, looking at the structure itself
and then looking at the -- the people that
potentially we thought would be in there, as far
as we're going after a murder suspect. We know
that they have -- they're heavily armed. We have
intelligence that they're heavily armed.
We're going after the crime of murder.
They have priors -- violent priors, and they also
are documented gang members.
In order to insert that stun stick and
clear out that window, the window that we used
would -- we knew that that would be the living
room. And that living room itself, if we can
clear that out, we had a breach point, which would
have been the front door, which would have
assisted us in -- with clearing out that window
and letting us know, if we got hung up at the
door, where -- you know, the guys there could
actually provide cover for us, and then also
provide intelligence of what we had inside if we
got hung up at the door or anything like that as
well.
And the purpose of the stun stick would

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1 be if there was somebody in there that was trying _ 1 conversation with the lieutenant -- to the best of
2 todo something that was violent or whatever, } 2 your memory, what was your conversation with the
3 there was that distract device itself in there 3 lieutenant in order to get the use of the stun
4 that could go off and that would disorient them if | 4 stick authorized?
5 they were -- if they were going to do something, | 5 A Just like | explained before.
6 whether they were trying to run deep into the | 6 Q_ Okay.
7 structure, into another room, or they were trying | 7 A We had those two -- we had the
8 to move, grab something, or do anything like that. | 8 intelligence of the violent individuals inside the
9 Q_ So your understanding of the purpose of | 9 apartment itself, that they were heavily armed,
10 the stun stick is, in fact, to disorient; correct? 10 and we were also looking for a murder suspect.
11 A_ The stun stick, yeah, it emits a -- | 11 And the mother -- stepmother of those two -- one
12 yeah, it disorientates -- disorientate -- excuse 12 of those individuals had identified both of them
13 me -- disorients somebody, yes. 13 as being the ones that were involved in the
14 Q_ Okay. And so I'm going to actually ask | 14 murder.
15 you, to the best of your knowledge, like, can you | 15 Q_ Okay. So is it fair for me to assume,
16 kind of walk me through what a stun stick 16 the reason to do this CET and the reason to use
17 actually, like, looks like? Like, how it's 17 the stun stick were the same?
18 employed? 18 A Correct, essentially. | mean --
19 A_ It's a device that has a hood. It has 19 Q_ Yeah.
20 the actual dis -- 25 depth -- 25 distract on it. 20 A_ -- the -- insert a stun stick is not
21 And it can extend out. And it is utilized to |21 necessarily on any CET or all CETs, so -- | mean,
22 insert through a window. And you insert it up at | 22 that is utilized in order to help out the entry
23 ahigh angle. And whoever is operating it itself, |23 team, whether they get hung up or if there's
24 prior to would attempt to clear the area. |24 somebody in there, to distract them or to, you
25 And then if they see somebody that is | 25 know, keep them from fleeing, going into a back
59 61
1 right there or whatever -- if there's a kid or 1 room, or gathering something like that itself.
2 something, obviously they're not going to utilize 2 It's there to disorient somebody, if
3 it. And utilize that device in order to help the | 3 needed, and that's also on the individual operator
4 entry team basically disorientate or distract 4 itself --
5 those individuals and draw their attention back 5 Q_ Okay.
6 towards that in order to go in there and actually 6 A_ -- on who is operating it.
7 safely take them into custody. 7 Q_ What's a break and rake?
8 Q_ Okay. And you weren't the one that 8 A Abreak and rake?
9 actually had the stun stick at the -- 9 Q_ Uh-huh.
10 A_ No. 10 A That's a device that's used to clear out
11 Q Okay. And so tell me then also, can 11 an actual window itself.
12 you -- the title is a little self-explanatory, but 12 Q Okay. And so what is inserted first
13 I'm going to ask you to walk me through it anyway. | 13 through the window for this? Is it the stun stick
14 What's the nine bang? 14 or the break and rake?
15 A_ The nine bang is essentially a distract 15 A_ | wasn't back there. | don't know
16 device that has nine ports, and it lets off nine 16 exactly what -- what they used or how they cleared
17 distracts -- 25 distracts. It's a -- repetitive. 17 the out that window --
18 Q_ And so what's the bang -- what's the -- 18 Q Okay.
19 | mean, we've got the video, so | know. 19 A --in the back.
20 But how would you describe the bang? 20 Q Allright. And so -- and so let's
21 A_ It's -- it's -- it's similar to the 21 actually walk through the -- sorry. We went
22 Def Tec 25. It's -- it's just nine ports, and it 22 through the -- the briefing.
23 just goes off nine times in a rhythm, boom, boom, | 23 Then can you kind of walk me through
24 you know. 24 what happened after that? So did you guys have
25 Q Okay. And what did you -- what was your | 25 the briefing at Sam's Town?
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A Okay.

Q_ And then what happens next?

A. After the briefing, we loaded up on the
BearCats.

Q_ Okay.

A_ Got dressed, got our tactical equipment
or. And we got on the BearCats, and we started

| 6 to ask you to give me the dialogue. Obviously --
| 7 like, you get on the BearCats.

64

that that's what it was called.

Q_ Okay.

A_ Dynamic -- yeah.

Q Okay. And so you get on the BearCats.
5 And then kind of -- | mean, | -- it's -- I'm going

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8 heading towards 3050 South Nellis, 1125. 8 Then what?

9 Q_ And what -- what tactical equipment did 9 A We started heading towards -- we had
10 you have -- sorry. 10 body cams. Everybody -- | think | came on the
11 What tactical equipment did you have on? 11 radio and said, “Hey, everybody activate their
12 A Aballistic helmet, a ballistic vest, 12 body cameras." Everybody activated their body
13 belt, gloves, tourniquet, stuff like that. 13 cameras, and we proceeded the route that was on
14 Q_ What were you armed with? 14 the draw itself to the location.
15 A_ |had two guns on me at that time. | 15 Q Okay. And why did you activate -- is
16 had a GLOCK 34, and | was also armed with an M4. | 16 there, like, a certain policy for LVMPD of -- as a
17 Q_ sts that standard? 17 point in time when you have to activate the body
18 A What do you mean "standard"? 18 cams?

19 Q__Is that what's standard -- like, if 19 A There's a certain point, | guess, when
20 you're -- if you were serving -- that's a fair 20 everybody is ready to go and you're starting the
21 question. 21 tactical operations and you're loading on the
22 If you were serving this kind of 22 BearCats, in SWAT, we activate our body cameras.
23 warrant, is that, like, what you would wear as a 23 Q_ Okay. And so you load on the BearCats.
24 standard? 24 And you get to the actual apartment building.
25 A_ Could be, depending on the operation, (25 Can you walk me through what happens

63 65

1 depending on what type of tactic we're using, 1 then?

2 where you're at in the line. Depending on what 2 A We disembarked the BearCats and got in

3 type of operation it is, you could utilize two 3. the line.

4 handguns instead -- instead of having a M4. It's 4 Q Okay. And can you walk me through, to

5 just -- it's situational. 5 your memory, what -- what -- what did the line

6 Q_ And, sorry, we talked about -- 6 consist of?

7 A_ And that's up to the operator itself -- 7 A_ The actual stack itself, we had our

8 the SWAT operator itself on what they prefer. 8 breaching element with Officer Hoskins and Levi

9 Q_ Okay. And, sorry, we kind of -- | just 9 Hancock. And then we had our line, which was --
10 wanted to -- this goes back a little -- goes back 10 Officer Kubla was number one. Number two was
11 alittle bit. 111 Brice Clements. Number three was Jake Warner. |
12 But in terms of the CET -- the CET, the 12 was number four, myself. And then Alex Gonzalez,
13 time that you had been on SWAT, you had never done | 13. who is now a sergeant, was number five.

14 a CET before; is that correct? 14 Number six -- | would have to look back

15 A_ Noton the SWAT team, no. 15 atthe draw, but, | mean, for -- it's -- all of

16 Q_ Okay. Had you done it not on SWAT? 16 the rest -- the rest of the guys on the team --

17 A No. Because that tactic didn't - 17 Q_ Okay.

18 that's the first time | had ever heard of the 18 A_ -- were in that line too.

19 tactic, is when | was assigned to SWAT. 19 Q_ And where were you relative to everyone
20 Q_ Okay. So -- okay. So | want to make |20 else?

21 sure | understand that statement correctly. 21 A_ | was number four.

22 You had never even heard of this tactic 22 Q Okay. So were you in actually the

23 before until you had been assigned to SWAT; is 23 lineup in front of the door, or were you off to

24 that correct? 24 the side?

25 A Essentially, right. Yeah, | didn’t know 25 A Atthat point in time, because of the --

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1 how we lined up, the door was recessed back. | | 1 And so, Russ, | think you gave me the
2 was off to the side. | 2 list of things that you had reviewed beforehand.
3 Q_ Okay. And who gave the announcement? | 3 And | don't remember, I'm sorry, even though it
4 A For the target apartment, | did. | had 4 was just a couple of hours ago.
5 the bullhorn. 5 Had you reviewed that video to prepare
6 Q Okay. Why don't we stop here, and then 6 for today's deposition?
7 we'll actually play the video. 7 A Yes, | --
8 A Okay. 8 Q_ Okay.
9 MS. MURPHY: Okay. Give me just -- if 9 A_ -- reviewed it before. Yeah.
10 we want to go off the record, give me just a | 10 Q_ Okay. Altright. Okay. Is it hard for
11 minute to pull up the video. '11 you to watch that video?
12 THE VIDEOGRAPHER: We are going off | 12 A Hard?
13 the record at 2:09 p.m. 13 Q_ Yeah.
14 (Whereupon, a recess was taken.) 14 A_ Unfortunately, there's a human life
15 THE VIDEOGRAPHER: We are back on | 15 involved. Anybody in -- in any type of incident
16 record at 2:11 p.m. 16 like that -- would be probably hard for them.
17 THE WITNESS: Is that mine? 17 Absolutely, it's hard, yeah.
18 BY MS. MURPHY: 18 Q_ Okay.
19 Q Yeah. Tell me -- it should be yours. 19 A But, | mean, it's just lucky to know
20 A I'masking you. 20 that I'm alive and the rest of the team guys
21 Q Okay. It's the one that's marked as 21 are -- letting them -- you know, it brings back a
22 yours. |22 lot of emotions. But, yeah, I'm glad that we came
23 A_ It was two years ago. 23 out of there alive.
24 Q_ The sound should be coming on. Give me | 24 Q Okay. And can you kind of tell me -- if
25 one second. 25 it's not too hard for you, can you kind of tell
67 69
1 A Okay. 1 me, like, what kind of emotions is it bringing up
2 (Video played.) 2 for you to watch that video?
3 THE WITNESS: | didn't touch it. It 3 A_ To know that we all took a -- that --
4 stopped. My hands are right here. 4 all of those rounds, 18 of them, | believe, and
5 BY MS. MURPHY: 5 none of us got hit. And then looking at that
6 Q Were you on the BearCat? 6 muzzle flash pointed directly at me, | was able to
7 A Yes. 7 go to work, do my job, and then come out alive.
8 MS. MURPHY: Did it stop again? 8 Q_ Okay.
9 Yikes. All right. Thank you. 9 A. Very fortunate.
10 (Video played.) 10 Q_ And did you do any -- did you do any,
11 BY MS. MURPHY: 11. like, treatment following this incident? Like any
12 Q_ Are you okay? Do you want totakea [12 treatment with a therapist, a psychologist,
13 break? 13 anything like that?
14 A_ I'm good. 14 A_ Yes, | went to --
15 Q_ Are you sure? 15 Q_ Okay. How long did you do that for?
16 A Yeah. 16 A Oh, gosh. | forget the exact length of
17 Q Okay. We can -- we can totally take a | 17 it, but it was -- | don't know, standard time,
18 break. There's no problem at all. 18 whatever -- whatever that was. Like a month and a
19 THE WITNESS: Do you need to take a| 19 half, two months.
20 break? 20 Q_ And did you have any -- were you -- were
21 MR. ANDERSON: | don't need to take | 21 you put on, like, administrative leave or anything
22 one. But if you do, take it. 22. like that?
23 THE WITNESS: No. 23 A Yes.
24 BY MS. MURPHY: 24 Q_ How long were you put on leave for?
25 Q_ Do you want to take a break? 25 A_ Oh, | was on administrative leave, |
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70 72
1 believe, almost four months. 1 that, you always go back to the -- go back and
2 Q Okay. And since coming back, have you 2 look at what -- you know, what you can improve on,
3 had any -- do you have any, like, ongoing mental | 3 how you get better. Not individually, but also as
4 health or psychological issues related to being | 4 my position as -- the team.
5 involved in this officer-involved shooting? | 5 So you have to take all of those -- all
6 A_ No. 6 of that into consideration and always learn from
7 Q_ Okay. Does it change how -- what | 7 the outcome of that. There was -- unfortunately,
8 happened -- does what happened here change how you | 8 there was a human tife involved, and it's tragic
9 serve search warrants today? | 9 that there's a gentleman that's deceased now. And
10 A You mean what happened on that incident? | 10 for his family, | feel bad for his family.
11 Q_ Correct. | 11 Doing things differently? | would say
12 MR. ANDERSON: Can | just clarify? /12 you train harder. You work harder and make sure
13 Are you asking the department, or him personally? | 13 to be always prepared for the unknown and never to
14 MS. MURPHY: Him personally. That's a 114 give up. And don't let off the gas pedal just
15 fair clarification. Thank you, Craig. |15 because you think you know everything. That would
16 THE WITNESS: Yeah, because | was |16 be -- you need to always train and keep training
17 confused. Thank you. | 17 harder, because you never know what you're going
18 Me personally, you know, when you look 18 to encounter when you go through a door.
19 at anything like that and you look -- at any time | 19 And obviously right there, we
20 you go into the unknown, you want to always be | 20 encountered a gentleman that shot at us 18 times
21 prepared as much as you can. And with my training | 21 and tried to kill us.
22 and -- that day, | relied on it and it came | 22 Q_ And one of the -- we can back up and
23° through. | 23 kind of talk about the actual mechanics of it as
24 Does that change anything as far as my |24 well.
25 opinion? I'm there to do a job, regardless if | 25 There was an issue with getting through
71 73
1_ it's serving a search warrant, a hostage rescue, 1 the door; correct?
2 whatever. So when | have to go to work andido | 2 A_ After watching the video, yeah.
3 my job, | have to be as most -- | have to be as 3 Q_ Yeah.
4 proficient as possible and have a clear head. 4 A It took a little while.
5 So does it change my opinion on my job 5 Q_ And so what was the issue with getting
6 and my tactics and what I do? No. 6 through the door?
7 BY MS. MURPHY: 7 A. After reading the reports and seeing
8 Q_ And, sorry, maybe | asked the question a 8 that, the brass wrap obviously kept us from
9 little unartfully. I'm not asking if it changed 9 ramming that door - can somebody ram the door one
10 your opinion on things. But I'm asking if it -- 10 time? Yes, depending on their technique, how big
11 well, maybe you answered it, the last part, but | 11 and strong they are. But, you know, it's also
12 just want to clarify. 12 technique.
13 In, kind of, like how -- how you do -- 13 I don't know what -- you know, he used
14 how you execute search warrants today, did -- did | 14 the best technique he could, and that door -- door
15 this incident change anything, the way that you -- | 15 got opened after five hits.
16 you actually, like, do anything? Like, some of 16 Q Okay. When I say "call a tactical,"
17 the other officers have answered, like, that -- 17 what does that mean to you?
18 they have answered, like, they modified certain 18 A_ So tactical -- tactical --
19 things or they're more aware. Like, ithas had an | 19 Q_ That - sorry. In terms of this
20 impact on how they serve search warrants today. | 20 incident. It may have meaning in a variety of
21 Is that question more clear, or do you 21 other ways that I'm unaware of.
22 want me to rephrase it? 22 A Yeah, because | was, like -- okay. Yes.
23 A Yes. Yeah, it's -- you know -- you 23 So in that incident right there, for
24 know, | see your -- do you modify things? 24 that particular part at the door, calling tactical
25 Absolutely. Any time you have a tragic event like | 25 would mean we would pull back. That would -- that
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1 would be a -- absolutely, that's -- and anybody 1 think it was an ambush.
2 can call it in the line, whoever is seeing | 2 Q Okay. And so walk me through your --
3 whatever -- you need somebody behind -- you know, | 3 your thought process on that a little bit more.
4 if there was somebody squirting out the window or | 4 A_ The minute Officer Kubla went through
5 somewhere else or something else going on, anybody | 5 that door, he started taking rounds immediately.
6 on the operation could call tactical. 6 That gun was pointed directly at him. There's --
7 And that's where we pull back to cover. | 7 |mean, you can see the muzzle flash.
8 We reassess, we find out what's going on, slow | 8 Q_ Had --
9 things down, and then formulate a plan from there. | 9 A_ Anybody that's in a dead sleep -- and
10 Q_ Okay. And having seen the video, |10 | --1 mean, I've -- I've never been in this. But
11 knowing everything that you know now, do you think | 11 anybody that's startled in a -- or comes out of --
12 that a tactical ought to have been called that | 12 awake from a dead sleep and can shoot like that
13 day? 13 and place rounds like that that fast, they're one
14 A Yeah, | think that we -- that would have 14 hell of a marksman.
15 been -- looking at it now, yes, | would agree with | 15 Q_ Have you watched -- have you watched
16 that, yeah. 16 the -- have you watched the videos from the other
17 Q_ And | want to read you the legal element 17 angles?
18 for knock and announce. And it is that if after | 18 A_ I've watched a couple.
19 notice of its authority and purpose, an officer is 119 Q_ Which other videos have you watched?
20 refused admittance. 20 A_ | think I've seen Kubla’s. | saw
21 Can you tell me, having watched that 21 Alex -- Sergeant Gonzalez's, and | think | saw
22 video, what Mr. Williams did to refuse admittance 22 Officer Clements’ -- sorry. No.
23 while the door was closed? | 23 Q Okay.
24 A_ Refuse admittance -- 24 MR. ANDERSON: And Rothenburg; right?
25 Q Yeah. 25 THE WITNESS: Yes, and Roth.
75 77
1 A_ -- while the door was closed? 1 BY MS. MURPHY:
2 He didn't answer the door. We made our 2 Q_ Okay.
3 announcement. 3 A_ Yes, I'm sorry. James.
4 Q_ Okay. Do you think that there was 4 Q_ Okay.
5 sufficient time for Mr. Williams to wake up, get 5 A_ He's a sergeant too, as well, now.
6 up, walk to the door, and open the door within the 6 Q_ Right. And so, listen, this is my only
7 amount of time between your announcement and the | 7 chance to speak to you until we go to trial, and |
8 window being broken open? 8 really do want to understand what you're going to
9 A You say wake up? 9 go -- what you're going to -- what your intention
10 Q_ Yeah. 10 is, if the case goes to trial, what you're going
11 A_ How do you know he was sleeping? 11 tosay. And so! want to be really clear.
12 Q Well - 112 is it your testimony, as we sit here
13 A I'masking. 13 today, that you think that Mr. Williams was awake
14 Q_ Okay. That's fair. 14 atthe time that knock and announce was made?
15 We know that he was lying on the couch 15 MR. ANDERSON: Objection. Form.
16 in a reposed position; correct? 16 Go ahead and answer.
17 A_ | would say he was -- he was in a 17 THE WITNESS: | don't know if the man
18 defensive position in a deep corner of aroom when |18 was awake or not.
19 we entered and ambushed us, yeah. | would say -- | 19 BY MS. MURPHY:
20 he shot at us 18 times. 20 Q_ Okay.
21 Q Okay. So you think that there's a 21 A But you said he was sleeping.
22 potential that he might have been awake at the 22 Q_ Correct.
23 time? 23 A_ I'm just answering it, like, how do we
24 A_ | would say -- | would -- from what | 24 know he was sleeping?
25 can gather, after watching that, absolutely. | 25 Q_ Okay.
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78 80
4 A_ Because of where he was positioned at in | 1 Q Okay. Do you think that -- we talked
2 that corner and the time it -- those rounds 2 about it a little bit before, but | want to, kind
3. started firing off as we made entry, that was 3 of, grind into it a little bit more.
4 pretty fast. That guy was there -- that guy was 4 One of the issues that you talked about
5 actively shooting at us. He was there to kill us. 5 in terms of reasonability of time was what the
6 Q Okay. And do you think that there's any 6 search warrant was seeking; correct?
7 possibility -- but you -- okay. So there's the 7 A We were going after a murderer.
8 possibility he was either awake or asleep. 8 Q_ You were -- and, sorry. And in this
9 Being either awake or asleep, do you 9 case, | just want to clarify. | understand your
10 think that he had sufficient -- was there any 10 comment, but sometimes it comes out a little bit
11 indication before the door was -- was -- before 11 different on paper.
12 the door was rammed open that he was going to | 12 That part of your assessment of what a
13 refuse admittance to the officers? 13 reasonable time was, because you were going after
14 A We gave a reasonable -- a reasonable 14 amurderer; correct?
15 amount of time to serve the search warrant. 15 A. The totality of the circumstances, the
16 Q_ Okay. | 16 size of the structure.
17 A That's a 650-square-foot apartment, one _ | 17 Q_ Okay.
18 bedroom. He was right there in that front 18 A Right? The -- knowing that there are
19 bedroom. He never announced or said, “Hey, I'm | 19 gang members in there. Knowing that the
20 coming to the door." 20 stepmother said it's a narcotics flophouse.
21 Q_ Do you think that that was his duty, to |21 Knowing that they're heavily armed, that they've
22 say "I'm coming to the door"? | 22 been -- they've recovered firearms previously from
23 A_ | wouldn't say it's his duty, but most 23 them on previous stops, knowing all of that.
24 people -- I've seen it happen before, that most 24 Q Okay. And so, Russ, I'm going to
25 people said, yeah, I'm to the -- | mean -- | 25 represent to you that there's some case law out
79 81
1 Q. Okay. 1 there that indicates that a reasonable amount of
2 A_ | mean, that's unless you have something 2 time can also be based on what the search warrant
3. to hide or you're, you know, setting something up. | 3 is seeking. And so, for example -- and I'll read
4 Then obviously you wouldn't. | mean -- 4 you an excerpt from a -- from a -- from a case.
5 Q_ And so I'm going to go back to my 5 "After 15 to 20 seconds without a
6 earlier question, because | just want to clarify 6 response, officers could fairly have suspected
7 this one more time. 7 that Banks would flush away the cocaine if they
8 Before the door -- while the door was 8 remained reticent.” And for the record, that's
9 closed, other than Mr. Williams saying, "Hey, I'm 9 from page one -- that's case law cited from
10 coming to the door,” did he provide any indication | 10 page 133 of the CIRT report.
11 to any of you or the other officers outside that 11 And so one of the issues that it talked
12 he was going to refuse admittance? 12 about in the CIRT report was a reasonable amount
13 A_ Refuse admittance? 13 of time is also predicated on what type of
14 Q Yes. 14 evidence they're going after. So a reasonable
15 A_ | didn't hear him say anything, no. 15 amount of time will be lesser for something that
16 Q Okay. And so we talked a little bit 16 could -- like cocaine, that can be flushed away in
17 about what the reasonable amount of time is. And| 17 a toilet, or otherwise destroyed.
18 as we sit here today, my understanding is that you | 18 A_ Correct.
19 don't -- based on your training, your experience, 19 Q_Is that consistent with your knowledge,
20 you don't think that there's, like, a guideline 20 oram|! telling you something new?
21 for a number of seconds or anything like that; 21 A. That's consistent.
22 correct? 22 Q Okay. Because you were -- you were on
23 A I've never seen anything that's a 23 units before where you were going for narcotics;
24 guideline that says that there's a certain amount | 24 correct?
25 of time. 25 A Yes, ma'am, that's correct. | worked
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1 there for five years. i 1 Q_ What's NTOA?

2 Q_ Yeah. And so you're aware that somebody 2 A_ National Tactical Officers Association.

3 canrun to the bathroom and dump cocaine in the 3 Q_ And how soon after this incident did

4 toilet and flush it? 4 Captain Cole come back and give training on CET?
5 A_ I've seen all kinds of crazy things, 5 A He went to a conference, and | don't

6 yes. | 6 know the exact date. | was out of work. | don't

7 Q. Allright. 7 know.

8 A_ I've seen that, actually, yes. 8 Q You don't have to give me exact date.

9 Q_ Okay. | 9 If you can give me a time frame, to the best of
10 A_ I've seen run somebody to the back /10 your knowledge, like within --

11 bathroom. | 11 A_ | don't -- | don't have the specific

12 Q_ Okay. But to confirm, in this case, 12 time he went.
13 although you had said that part of the totality of | 13 Q_If| said within a month or two --

14 circumstances was that you believed that you were 14 A_ | don't know.

15 also going after a murderer, there was no evidence = 15 Q. Okay.

16 on that search warrant that could have been 16 A_ | was off work.

17 destroyed; correct? The gun can't be destroyed. | 17 Q_ So--so if you were off work, then it

18 The cell phone can't be destroyed. So there were 18 was within that four months; correct?

19 noconcerns like that; correct? 19 A Or maybe it was directly right after he
20 A_ No, there was not. /20 went, and then he put it on. | -- | don't
21 Q_ Okay. And the totality of the |21 remember.
22 circumstances and the reasonableness of the amount | 22 Q_ That's okay.
23 of time goes back to the elements that you listed | 23 A Yes.
24 earlier; correct? | 24 Q_ Were -- were you part of that -- did you
25 A_ Right. The size of the structure, the | 25 participate in that, or did you hear about it

83 85

1 propensity for violence, the violent individuals 1 after?

2 being inside, yes, all of that stuff. 2 A_ The whole team was there. We

3 Q_ Prior to this search warrant, had you 3 participated in part of it. Yeah, | think --

4 received any training about what elements you had| 4 yeah, | sat through some of it.

5 to comply with under both U.S. and Nevada law for | 5 Q_ To the best of your memory, was there

6 a proper knock-and-announce entry? 6 any new information that was relayed about CETs or
7 A Proper knock-and-announce entry? 7 knock and announces during Capital Cole's

8 Specific training? | would have to refer back to 8 presentation?

9 my training record. | know the -- | know that 9 A_ | don't -- no, | don't think so.

10 with the -- how that goes. But official training, | 10 Q_ Okay. Then so what was the purpose --

11 | think there was training in SWAT. I don'tknow | 11 to your understanding, what was the purpose of the
12. if it was before this incident, but | know we had 12 presentation?

13 some training afterwards. 13 A It was just to refresh everybody.

14 Q_ What was the subsequent training you 14 Q_ Okay. Was there any discussion about

15 had? 15 a-- what a reasonable amount of time constitutes?
16 A_ The subsequent training was -- it went 16 A | don't recall.

17 over the CETs, the surround and call-outs, the 17 Q_ Okay. Was there any discussion about

18 announcements, all of that stuff. 18 when a CET can be used -- or C-E-T can be used?
19 Q_ And how do they go over it? Can you 19 A ACET? There was discussions --

20 give me alittle more -- 20 discussions about the CET and why we used the
21 A_ Just went over it on a PowerPoint. 21 tactic, but it's still the same stuff that we've

22 Q_ And what did the PowerPoint -- what 22 talked about.

23 information did the PowerPoints contain? 23 Q Okay. And so obviously -- | mean, my

24 A_ Captain Cole went over it after he came 24 next question is, what was your training about CET
25 back from NTOA. 25 before this incident?

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1 A. The training before, you know, was -- it 1 A When you asked me my opinion —
2 was all about notifying our presence out front, 2 Q_ Yes, was that he was trying to kill you
3 verbalizing everybody in the stack, you know, 3 and your team members; correct?
4 that's out in front of the structure. In training | 4 A_ That was my opinion, yes.
5 it was, you know, prior to making entry, everybody | 5 Q Yes.
6 would verbalize very loudly, "Police department, 6 And so my question is, as we sit here
7 search warrant" so that way the occupants inside 7 today, are you able to give me any information
8 would know, and also it would let the surrounding 8 that would indicate that Mr. Williams was aware
9 citizens know as well. 9 that you were police officers at the time of that
10 Q_ Okay. 10 shooting?
11 A_ And to that point, CET also protects not 11 A We gave him the announcements on the
12 only people inside a residence, but it could also 12. bullhorn.
13 protect citizens in -- in other -- other places 13 Q_ While also detonating distracts;
14 too, as well. 14 correct?
15 Q Okay. And so do you think that there 15 A_ Well, the announcements were made prior
16 was any possibility that Mr. Williams could have 16 to the distracts going off, some of them.
17 been confused by the distracts and not been aware | 17 Q One announcement was made; correct?
18 that it was police officers coming through the 18 A_ | would have -- you would have to put
19 door? 19 back and -- and if you're going to be specific,
20 MR. ANDERSON: Objection. Form. 20 you know, and how many exact announcements were
21 THE WITNESS: | -- | wasn't -- | 21 made, but there were a lot of announcements being
22 don't -- | don't know what the man thought. 22 made.
23 BY MS. MURPHY: |23. Q Okay. And!'m going to -- I'm going to
24 Q_ Okay. | 24 cite to your -- your statement that you made, the
25 A_ | couldn't tell you if he was -- | don't 25 recorded statement.
87 89
1 know. 1 And so you were reading from your
2 Q Okay. So then it goes both ways. You 2 statement on page 35, Bates LVMPD802. This is
3 don't know if he was intending to murder police 3 from your statement, open quote, "The combination
4 officers; correct? 4 of these effects produce a psychological or
5 A_ What saw is, he was shooting at me. 5 sensory overload that can temporarily stun an
6 Q Okay. But! -- and that's fair. So let 6 individual,” close quote.
7 me ask it a little bit differently. 7 What does stun -- to your understanding,
8 There was no indication -- he never gave 8 what does stun mean?
9 you -- 9 A_ Stun -- having been around these
10 A_ | wouldn't say he was trying to shoot 10 distracts in training, there's a lot of
11 me. i'm sorry. He was trying to kill me -- 11 overpressure from the distract itself. The light
12 Q_ Okay. 12. itself, if you look at the distract, will cause
13 A_ -- straight up. 13 you to look away. That would be -- most people
14 Q Okay. But as we sit here today, do you 14 would be stunned from that. And that's also part
15 have any knowledge -- can you identify or say 15 of the manufacturer -- it comes from the
16 anything that he was aware that you were a police | 16 manufacturer that it's a -- it's called a stun
17 officer? 17 stick. It's for a stun.
18 A Can he say? | 18 It's to disorientate somebody. To get
19 Q_ Could he -- sorry. Let me ask the 19 them to stop what they're doing, to temporarily
20 question a little bit better. | know I'm skipping 20 disorientate them, and then actually safely take
21 over my words a little bit. | 21 them into custody and get them to stop doing
22 What you -- what you have testified to 22 whatever they're trying to do -- like, whatever
23 up to this point in time was that your feeling -- 23 violent type of thing they're trying to do while
24 and | don't mean like that pejoratively. I'm 24 you're deploying it.
25 really saying, like, your thought, your feeling -- 25 Q_Itcan also confuse them; correct?
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1 A_ Very temporarily. 1 it's hard to get through.
2 Q_ Okay. And what's your definition of 2 A _ltis quite long, yes, it is.
3 "very temporarily"? | know it's hard to quantify 3 Q Yeah. But you probably read the -- all
4 these amounts, but I have to ask you -- | 4 the conclusions. Is that fair to say?
5 A_ Each -- each person is different. 5 A It's fair to say, yes. Yes, ma'am.
6 Q_ Right. 6 Q_ Okay. All right. So I'm going to read
7 A And | would say | can't really put a 7 to you the part - it's the 3.6, and it's page
8 specific time on that, because what would affect 8 215.
9 me would affect you differently or it would affect | 9 A Okay.
10 anybody in this room differently. | 10 Q_ CIRT concluded, "While the SWAT section
11 A second, half second, you know, two /11 manual contained verbiage allowing for SWAT
12 seconds. It's just -- everybody -- it's - it's 12 operators to conduct a CET for property when there
13 to temporarily disorientate somebody, 13 is a threat of an armed and dangerous subject, it
14 temporarily -- it's -- | don't have a set time | 14 was not appropriate, given the amount of unknowns
15 can give you. 15 associated with Apartment 1125. There were
16 Q_ Okay. In this case, it would be fair to 16 numerous amounts of unknown factors, to include
17 say that this did not cause Mr. Williams to become | 17 who was actually staying in the apartment and if
18 compliant; correct? 18 there were children, elderly, or vulnerable
19 A_ | would say that he was not compliant. 19 individuals present inside the apartment.
20 He was shooting at us after they went off. He 20 "SWAT's decision to serve the 3050 South
21 shot at us 18 times. |21 Nellis Boulevard search warrant as a CET was a
22 Q_ And do you think that being stunned 22 policy/training failure and not within the
23 could interfere with somebody's ability to 23 standardized LVMPD tactics training and policy,"
24 understand that it was police coming through the | 24 end quote.
25 door? 25 And so, Russ, | want to ask you about a
91 93
1 A_ Prior to that, we gave him announcements | 1 couple of things. We talked earlier in the
2 that we were the police; we were serving a search | 2 deposition about some of the unknowns. And what
3 warrant. Could it? | mean, | -- we won't know 3 you had indicated to me was that your memory was
4 because -- | don't know. 4 that the recon had ruled out that there was no
5 Q_ So my question was a little bit 5 children, no elderly, no vulnerable. And, in
6 different, though. It was "could it." Could 6 fact, based on the CIRT report, they had not ruled
7 it -- could being stunned prevent somebody from | 7 any of those things out.
8 understanding that it's the police coming through | 8 A_ | would say on the recon, they didn't
9 the door? 9 see a kid's toy out front; being a small bike, a
10 A_ It's a possibility, yeah. It could, 10 tricycle, a Big Wheel, something like that, or any
11 yeah. 11 toys -- any children's toys on the patio or
12 Q. Okay. All right. All right. And so, 12 anything like that that would indicate that there
13 Russ, I'm going to -- I'm going to skip around a 13 were children there. That's what the recon
14 little bit, but I'm going to read some of the 14 brought back.
15 conclusions in the CIRT report -- 15 Q_ Okay. In terms of elderly or vulnerable
16 A Okay. 16 individuals, they had also not ruled those out
17 Q_-- and I'm going to ask your opinion on 17 either; correct?
18 them. 18 A Well, you could say that would be more
19 And just to clarify, you read -- we 19 on the investigative side on whether that was
20 discussed at the very beginning of the deposition, | 20 ruled out or not, not on the SWAT section, on the
21 you did read the -- read most of the CIRT report; | 21 recon guys.
22 correct? 22 Q Okay. And then also who was actually
23 A Yes, ma’am, that's correct. 23 staying in the apartment, there was no knowledge
24 Q_ Yeah. And I'm assuming -- you tell me 24 of who was actually staying there; correct?
25 if I'm right or wrong. It's a thick report, and 25 A Except for the statement that the

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1 homicide detectives got in reference -- Rembert's 1 | mean, and that's looking at it now after the
2 stepmother saying that's where he lived. | 2 fact. That's not knowing, you know, after this
3 Q_ And hadn't she said that he had stayed 3 had happened before.
4 there months earlier, and she wasn't sure where he | 4 Q_ And so my --
5 was now? 5 A. As far as the brass wrap door, | mean,
6 A If that's what it says in the search 6 there's other stuff too, you know.
7 warrant. 7 Q_ What's the other stuff?
8 Q_ Okay. Not in the -- okay. | 8 A That's -- that's it. You know, the
9 And then what's your opinion where it | 9 brass wrap door, knowing that.
10 concludes that this was a policy training failure 10 Q_ And so part of my -- my -- part of my
11 and not within standardized LVMPD tactics? 11 understanding about what you've just said is that
12 A_ Well, and that's obviously the SMEs, and 12 you kind of -- if we're going to call this, like,
13! don't know who they were or how they drew all of 13 a -- to use a simple analogy, this whole thing is
14 their conclusions to those certain factors that 1/14 apie. Right?
15 you just pointed out. | 15 A_ Right.
16 | would say everybody has an opinion. 16 Q_ And you're saying, hey, for my slice of
17 Right? 17 the pie, | operated within policy and procedure.
18 Q_| think | know where you're going with 18 Is that fair to say?
19 the rest of that statement, but let's keep it 19 A_Idid the best | could with all of the
20 clean for the transcript. /20 facts that | had.
21 A You know, in -- looking at this as an 21 Q Okay. And I'm going to read you another
22 opinion, were we within policy of the section at (22 conclusion, and it's 3.8 from page 216. Open
23 the time of the section? Everything that | did 23 quote, "Under the conditions present here, six
24 that | relayed to my boss was within section 24 seconds was insufficient time to allow occupants
25 policy, yes. | 25 time to answer the door, let alone submit to a
95 97
1 Q_ Okay. All right. 1 search," end quote.
2 A |did -- and | relayed everything to 2 Having -- you have extensive experience
3 her, the information that | had, and said, "Hey, 3 working for LVMPD. Although this was the first
4 this is what we have and this is where -- this is 4 time you had done a CET, I think that you
5 the tactic that we want to use," and she approved | 5 testified earlier that you have served search
6 it. 6 warrants and other -- you know, in other areas and
7 Was that within -- without being in 7 other units.
8 standards of LVMPD policy? | don't -- that's -- | 8 Do you agree or disagree that six
9 that's the question -- that's a million-dollar 9 seconds was insufficient to allow time -- to allow
10 question there. | mean, that's very, very 10 sufficient time for an occupant to answer the
11 debatable there. 11 door?
12 Q_ Okay. 12 A That structure was a one-bedroom,
13 A_ | mean, different people are going to 13 one-bath apartment, a narcotics flophouse where
14 have different -- you know, different viewpoints. 14 people are up 24/7. From my experience --
15 And | would say it's the -- we'll use the word 15 Q And--
16 viewpoints. 16 A_ - of being narcotics, dealers, gang
17 But my -- my viewpoint on this is, we 17 members, six seconds, knowing now how -- how this
18 can always get better. And there's some things | 18 transpired, that was a -- we did what we could
19 that you can -- you always learn from any incident | 19 under a reasonable amount of time, and there's no
20 that you're a part of or on. And we could have 20 set time. It's what's objectively reasonable at
21 sent the recon team back out again. They could | 21 that time with the facts that you have.
22 have said, “Hey we did this and" -- you know, that | 22 So | don't - whoever came up with that,
23 could have happened again, stuff like that. 23 is that - was that an SME? Or where did that
24 So, | mean, there are some things that 24 come from?
25 could be done better, yes. There's some things -- | 25 Q_ That -- and I'm happy to show it to you

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1 too. It's -- give me one second. Let me pull up 1 A That is a call that's not -- that is a
2 the -- it's conclusion -- | 2 call that you make at the time while you're there.
3 A_ Because that seems like an opinion-based | 3. And the point | would make is, okay, there's been
4 thing as well. Right? 4 one hit on the door with the ram. Is it flexing?
5 Q_ Give me one second. 5 Is -- are they getting flexion? Does it look like
6 CIRT and SMEs. So it was both CIRT and | 6 it's going to get ready to get open? Do you -- do
7 SMEs that concluded that. | 7 you understand what I'm saying?
8 A Okay. | 8 Q_ | do understand.
9 Q_ Okay. And that's from Section 3.8, and | 9 And based on the video, | don't think it
10 it cites case law as well. I'm happy to let }10 was flexing.
11 you -- }11 A Okay. That was -- that was my video.
12 A Okay. | understand what you're saying. 12 Q_ Right.
13 Q_ Trust me, I'm not trying to misrepresent | 13 A_ That! watched, | didn't see that.
14 anything to you. 14 Q_ Okay.
15 A_ Right. Yeah. 15 A Fair?
16 Q_ Allright. And so if understand your -- 16 Q_ Yeah, no, no, no. Fair.
17 sometimes | like to read -- like | explained to 17 I'm telling you, from my point of view,
18 you before, | like to read and write things, 18 | didn't see that it looked like --
19 because | want to make sure | really understand | 19 A_ The guys up front would make that call.
20 them. | 20 Q Okay. And so -- okay. So then -- so
21 As we sit here today, it's your position |21 then is it your position that the guys that are
22 that six seconds was -- based on the totality of | 22 really right at the door, you would rely on them
23 circumstances, including the size of the | 23 to call the tactical?
24 apartment, that six seconds was sufficient time to | 24 A Absolutely.
25 allow him to -- to allow whomever inside the 25 Q_ Okay.
99 101
1 apartment to let you guys gain access 1 A_ You've got to rely on your people to do
2 nonforcefully? | don't know if that's the right 2 their jobs.
3 term. 3 Q_ Okay. And so going back to the
4 A_ Six -- we went inside the door at 15 4 statement itself, though, do you agree or disagree
5 seconds. The six seconds -- and you're asking an | 5 that you lost the elements of the CET by not doing
6 opinion-based question. 6 an immediate breach?
7 Q_ Uh-huh. 7 A_ Any time that you have an immediate
8 A Could it have been reasonable for what 8 breach, you're obviously going to have the element
9 the person saw there at the time when they did 9 of speed, surprise, and overwhelming action on
10 that? Knowing that there was a -- we're going 10 your side when it’s -- when it's -- when it comes
11 after a murderer and a murder suspect and they're | 11 open with one hand. It was delayed.
12 heavily armed, it could be reasonable, yeah. 12 Q_ And, Russ, based on -- having read
13 Q Okay. And then conclusion three -- part 13 your -- the statement that you gave as part of
14 of Conclusion 3.9, open quote, "Officers 14 this, one of the issues — and you -- you read
15 immediately lost the elements of a CET, of 15 your statement recently.
16 utilizing speed to surprise and overwhelm the 16 A Yeah.
17 subject per their manual by being stuck at the 17 Q_ That you thought -- looking back on it
18 door and hitting it multiple times prior to 18 now, one of the things that you would have changed
19 entering the residence," close quote. 19 is you thought this should have been an explosive
20 And we talked about that a little bit 20 entry; correct? |I'm teiling you what you gave --
21 before. And as we sit here today, you agree with |21 what statement you gave in your -- in your -- in
22 that, don't you? 22 your recorded statement.
23 A Well, that's an opinion from an SME. 23 A_ With a brass-wrapped door with a tactic
24 Right? A viewpoint, you would say. 24 like that, knowing - if we would have known that
25 Q_ Correct. 25 there was a brass wrap on that door, that would
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1 have been definitely an option for a better tactic | 1 It's -- it's all based on the person's
2 anda safer tactic for us. And also for the 2 thought and what they thought at the time and what
3 people there, to get that door down without 3 they knew at the time based on what they saw at
4 having -- putting officers up front of it in | 4 that time, which | didn't see.
5 harm's way, knowing that there's automatic weapons | 5 Q_ Okay. The other thing that you said in
6 inside that residence with the possibility -- and 6 terms of when -- during your recorded statement,
7 we're going after a murder suspect too, you know. | 7 the things that you thought they should do
8 So, yes, a brass wrap on that door | 8 differently, is you thought this should have been
9 would -- there -- a better tactic would be to | 9 ano-knock search warrant; is that correct?
10 utilize an explosive breach on that, after the 10 A_ Yes, ma'am, that's correct.
11 fact, knowing this now. 11 Q Okay. Could -- could this type of
12 Q_ Right. And so in your -- in your 12 property-only search warrant have been approved
13 recorded statement, you said -- and I'm not trying 13 for a no-knock warrant?
14 to - one of the statements, there was 14 A_ Well, I'll back up on that.
15 explosive -- when they asked you, "What you would | 15 Q_ You tell me -- like | said, other than
16 do differently?” and your response was -- part of 16 trial, this is my only opportunity to talk to you.
17 it was, “Explosive breach is the main one." | 17 So you tell me exactly what you think and what
18 A_ That's one of the things -- and | guess | 18 your opinions are, because | want to know.
19 I was answering that from an after-the-fact 119 A_ Opinions of the case, | would say that
20 tactical spot of what | knew then and with the | 20 the gang unit had probable cause for a shooting
21 door having the brass wrap, after the fact. 21 with Mr. Rembert, and he was a shooter, which
22 Q_ Okay. And -- okay. And | - if I've 22 would take that and actually be a -- that's a
23 already asked this, you're going to have to -- | 23 felony, shoot -- you know, shooting at somebody.
24 you're going to have to excuse me. I'm going to |24 You know, there's a victim, whether it's, you
25 ask it one more time. | 25 know, assault with a deadly weapon, shooting at --
103 105
1 Do you think that a tactical ought to 1 you know, we could go on and on and on.
2 have been called? 2 Q_ Okay.
3 A_ Ought to have been called? 3 A_ So that would -- that could have changed
4 Q_ Yes. 4 some things with the case, knowing the
5 A_ In this situation? 5 relationship of the violent individuals in there,
6 Q Yes. 6 that we're also investigating a murderer, there's
7 A_ It could have been. But the guys up 7 an outstanding murder weapon, that they have a
8 front that saw it didn't make the tactical call. | 8 high propensity of violence, and they're gang
9 Iwas atthe back, so | couldn't see what they | 9 members, you know, on a drive-by recon that there
10 were seeing. So for me to sit here and say -- to 10 was a brass wrap door on some stuff, yeah,
11. give it what they saw and what -- | can't say -- 11 absolutely, this could have been -- you know, this
12 yeah, five hits is a lot, because there's a lot of | 12 could have been a possibility on the investigative
13 time on target. | 13 side, not on the SWAT side.
14 However, | was -- they were trusted by 14 Q Todo ano-knock -- to do a no-knock --
15 Sergeant Findley, because he was the team leader | 15 A They would have drafted that. We don't
16 at the time, that, hey, we're going to -- he -- 16 do that. That's -- that's -- that's -- that's on
17 he's trusting them to make the call up front. 17 the investigative end.
18 Different SMEs, different peoples of opinion will 18 Q_ Do you think that they ought to have
19 probably say, yeah, that's a lot of time on 19 done that?
20 target. That's a lot of time up front. | 20 A_ Dol think they ought to have?
21 Other people would say, hey, no. We 21 Q_ Yeah.
22 were there. We saw the door. We saw we were ‘| 22 A_ | don't have all of the facts --
23 getting -- we were making headway, and they -- 23 Q. Okay.
24 they saw the door flexing, and they knew that it 24 A_ -- pursuant to everything as far as the
25 would come open. | 25 investigative side, because | wasn't there. I'm
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1 saying it could have been an option. 14 Q_ Correct.
2 Q_ Okay. So -- but as we sit here today, | 2 A_ I think Lieutenant O'Daniel got the
3 based on the type of search warrant that this was, | 3 facts relayed to her, and | thought she made the
4 it-- and | - maybe you said it to me, and | just | 4 decision based off of what she knew at the time.
5 don't understand. | 5 And 1-- | think that she did her job and the --
6 Based on the type of search warrant, is 6 that's obviously a very opinionated question
7 it your understanding that they could have 7 coming from somebody on there as far as SME.
8 obtained a no-knock warrant? 8 Am | correct on that?
9 A They -- you would -- | would -- you | 9 Q_ Yeah, it's from the - it's from the
10 would have to ask the investigative detail on | 10 CIRT conclusion, so | think it's certain --
11 that, specifically on what they had -- 11 (Indiscernible crosstalk.)
12 Q_ Okay. 12 A Yeah, you would have to ask more
13 A_ --and all of the facts. Because, like | 13 in-depth of Lieutenant O'Daniel of what she
14 | said, | don't know all of their facts on what 14 thought and why she -- why she, you know, did what
15 crimes and -- and all the details of all of the 15 she did with that and made -- made the calls that
16 actual specifics on that -- you know, on that 16 she made. | can't give you an exact explanation
17 part. | do -- you know, and even on the murder | 17 of what she thought and what she knew at the
18 part, you know. There's -- there's probably some | 18 time -- you know, what her thought was.
19 facts there that could have been articulated as | 19 Q_ Okay. And then | will -- from Section
20 well. |20 5.5, "Captain Cole and Lieutenant O'Daniel's
21 Q_ And then also from 3.9 on page 220, open | 21 approval of homicide IAP and search warrant for
22 quote, "CET only to be utilized when a no-knock =| 22 the use of SWAT service was not within
23 search warrant is approved by the LVMPD and has | 23 standardized LVMPD tactics training and policy."
24 judicial preapproval," close quote. 24 Do you have any position or opinion on
25 As we sit here today, is it your 25 that?
107 | 109
1 understanding that the policy at LVMPD has been | 1 A_ You would have to refer to what they did
2 altered so that a CET can only be utilized when -- | 2 and -- what they did at the time. They made the
3 when executing a no-knock warrant? 3 decisions that they made because they were in
4 A Yes. | 4 those positions, about information that they were
5 Q Allright. And so if this same search | 5 given, either through the affiant or through the
6 warrant were to be executed today, it would be a | 6 affiant supervision or the case agent from
7 surround and call-out; correct? | 7 homicide.
8 A Yes. 8 So | don't know exactly, you know, how
9 Q_ And then from the conclusion, 5.5, page 9 they came to that conclusion or what all the facts
10 218, "CIRT and SMEs concluded Lieutenant O'Daniel |} 10 are. | don't know on that one.
11 did not use proper discretion when she approved 11 Q_ Okay. And as we sit here today, have
12 the use of a stun stick through the west-facing |12 you come to learn anything about Mr. Williams
13 window." Portion omitted. "Lieutenant O'Daniel's | 13 since this incident?
14 management of tactics for the requested approval | 14 A_ Learned anything about Mr. Williams
15 of tactics and tools, as the tactical commander, 15 since this incident?
16 was not within standardized LVMPD tactics training | 16 Q_ Let me ask a -- a better predicate
17 and policy." /17 question.
18 And, Russ, | understand that you may not |18 As we sit here today, you probably
19 want to comment on whether or not Lieutenant |19 assumed that that was either Wattsel or -- is it
20 O'Daniel did her job correctly. 1/20 Corvel?
21 But do you have any position on that | 21 A Fisher.
22 statement? (22 Q_-- Fisher at the time that you were
23 A Position as far as what? 23 executing the search warrant; correct?
24 Q_ Opinion on it. 24 A Yeah.
25 A Opinion. Viewpoint/opinion. ie Q_If you even had that thought.
i iF A ec”
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110 112
1 Did you? 1 The success is, !'m sitting here today
2 A_ | thought -- yeah, | thought that was -- | 2 tobe able to tell you about it, because | came
3 Q_ Okay. 3 out alive. Because | got shot at numerous times
4 A_ You're getting shot at when you roll 4 by that man. My kid still has adad. Those other
5 into aroom. ! mean, yeah. 5 cops that | was in that room with, my partners, my
6 Q_ And soas we sit here today, you 6 teammates are still alive, who are all dads. And
7 understand that it was actually Isaiah Williams, | 7 they're able to go home to their kids.
8 not either of the two murder suspects? 8 That's a success there. Because we're
9 A After the fact, yes. 9 still alive. He chose that. He made that happen
10 Q Okay. Other than understanding that he | 10 asa failure. He shot at us. That failure is
11 was neither -- he was not one of the two murder |11 him. He failed us. He shot at us 18 times.
12 suspects, do you know anything else about |12 BY MS. MURPHY:
13 Mr. Williams, as we sit here today? 113 Q_ Okay. Other than the items that we have
14 A_ | know that he had a mother. | feelbad | 14 already discussed, whether it is using the -- an
15 for her, the family. Yeah. | mean, he's got -- 15 explosive breach, having a no-knock warrant, is
16 he's -- | mean, there's a mother involved here | 16 there anything else that you would have done -- in
17 that doesn't have her son. |17 hindsight, that you would have done differently?
18 Q Yeah. | 18 A_ Prayed more for that kid not to be there
19 A But we're all alive as well. |19 and shot at us.
20 Q_ Aside from Mr. Williams having a mother, | 20 Q Okay. That's fair. If that's your
21 do you know anything else about Mr. Williams? |21 answer, that's your answer.
22 A I've seen a picture of him, you know,! =| 22 A Yeah, | wish that kid wouldn't have been
23 had -- after the fact. | knew nothing about him | 23 in there and shot at us. If he wouldn't have shot
24 though. 24 atus, this wouldn't have happened.
25 Q Okay. And as we sit here today, in 25 Q Yeah. All right. I'm just going to go
111 413
1 fact, having gone to execute this search warrant, 1 through -- i think | might -- oh, the other thing
2 none of the items that were being sought in that 2 | wanted to ask you about is -- and we have -- you
3 search warrant were actually present in the unit; 3 know, we need to cover it, Russ, is that you had
4 correct? 4 not attended SWAT school; correct?
5 A You would have to ask the homicide 5 A Correct.
6 detectives that did the search warrant. | don't 6 Q Okay. And can you -- as we sit here
7 know what -- 7 today, did you ever attend SWAT school?
8 Q You have no knowledge about whether or | 8 A After the fact, yes.
9 not they recovered anything? 9 Q_ Okay. And did you have to attend that
10 A_ | don't have firsthand knowledge of what 10 before you went back on SWAT?
11 they recovered right now, no. 11 A Yeah. | attended it right when | came
12 Q Okay. So -- okay. Okay. You do have 12 off administrative leave.
13 firsthand knowledge that neither of the two murder | 13 Q Okay. And can you kind of walk me
14 suspects were within the unit; correct? The 14 through why you didn't -- why you had not attended
15 apartment unit. 15 SWAT at the time of this -- SWAT school, sorry, at
16 A Obviously, yeah. 16 the time of this incident?
17 Q Okay. As we sit here today, would you 17 A_ That would -- that was Lieutenant
18 qualify the execution of this -- this warrant, 18 O'Daniel. They run a -- at that time, how the
19 would you qualify it as a -- as a success or a 19 training section worked -- and this is -- this was
20 failure? 20 at that time -- what was revealed to me by her was
21 MR. ANDERSON: Objection. Form. 21 werun the SWAT school every March, and it was a
22 Go ahead. 22 timing thing.
23 THE WITNESS: There's a human life 23 Because according to what
24 here. What's successful about that, a mother that | 24 Lieutenant O'Daniel explained to me -- because |
25 doesn't have her kid? That's an absolute failure. | 25 even asked her -- was it was because it's

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1 labor-intensive. There's a lot of bodies. It | 1 to Request Number 17. One, two, three, four.
2 takes -- it's a manpower-intensive school. | 2 A Okay.
3. It's -- you know, it's very intense, and they did 3 Q_ Can you kind of briefly explain those
4 it every March. And it just was the timing issue, 4 different incidents for me?
5 because | transferred to the unit in December. 5 A_ Oh, yeah. Embarrassing, at least two of
6 Q_ Why -- why did you transfer -- why did 6 them are.
7 you transfer in December? 7 | got an off-duty incident where | was
8 A Because that's when the opening was 8 intoxicated and found in possession of a firearm
9 there. 9 was one. That was embarrassing. And then |
10 Q_ Okay. Did you -- did you fill in | 10 received an off-duty DUI! in 2015 while | was
11 somebody else's position? |11 assigned to the organized crime bureau, criminal
12 A Yes. | 12 intelligence section. And that's when | was
13 Q_ Okay. And had you -- | mean, had you -- | 13 returned to patrol, and | gave you that statement
14 mean, | know that SWAT is very prestigious. 14 in chronological order of my timeline in my
15 Had you wanted -- obviously, had you 15 career.
16 wanted to join SWAT? | 16 The next one, the citizen complaint that
17 A Ofcourse. |17 I stole money and whatnot, I'm trying to recall
18 Q_ Okay. I'm going to ask you -- I'm going | 18 that. The defendant was one of the officers.
19 to -- | think I've covered almost everything. | 19 That was the Larry Ronetti [phonetic spelling]
20 just wanted to ask you about some of the stuff in | 20 incident. | think that was -- | had nothing to do
21 your discovery responses. 21 with that. | don't think | was actually there for
22 Did you -- for -- in preparation for |22 that. | don't know how my name is -- but -- but
23 today's deposition, did you go over -- let me show | 23 okay.
24 it to you too. We call them interrogatories and 24 And then the property owner complained
25 requests for production. 25 about being on his property, and we -- there was
115 117
1 A_ Yes, I've seen that. 1 no policy violation, obviously, on that. That was
2 Q = Okay. Allright. And I'm going to ask 2 a patrol incident when | was a patrol sergeant
3 you about the citizen complaints. I'm just going 3 with one of the guys.
4 to allow you a little bit more time and space 4 Q_ Okay.
5 to -- you've outlined them in response to Request | 5 A But, yeah, those -- the first two are
6 for Production Number 17, which asks, “Produce a| 6 embarrassing, and | grew and learned from them.
7 copy of all citizen complaints regarding the 7 And | made a mistake, but that was over almost ten
8 defendant" -- that's you -- "to which these 8 years ago. One of them was over ten years, and
9 requests were -- were directed." 9 the one is almost going to be ten years next
10 And so | have -- one, two, three, 10 February.
11 four -- | have four citizen complaints. 11 MS. MURPHY: Okay. All right. Can |
12 Do you remember all of these, or did you 12 take those back? Thank you.
13 want this to refresh your recollection? 13 All right. And if you can just --
14 A_ | might need to look at that to 14 hopefully I'm going to wrap up. Why don't we go
15 refresh -- 15 off for five minutes. I'm just going to review my
16 Q_ Part of it is highlighted on the second 16 notes.
17 page. 17 THE VIDEOGRAPHER: We are going off
18 A Okay. 18 record at 3:19 p.m.
19 Q_I't!just hand you those right now. 19 (Whereupon, a recess was taken.)
20 Sorry, that's the first page. You just flip them. 20 THE VIDEOGRAPHER: We are back on
21 That's the page before. No, no, no. Sorry. 21 = ~record at 3:24 p.m.
22 A You got two of them here. You said 22 BY MS. MURPHY:
23 there's four. 23 Q_ Russ, one of the things you talked about
24 Q No, no, no. Sorry. There's four 24 in your recorded statement was you being on the
25 incidents. So one, two, three, four, inresponse | 25 stack. And they asked you if you were aware of
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1 any policy that said you couldn't -- standard | 1 statement when | was in major violators as a
2 operating procedure that you cannot be on an entry| 2 detective, and | was also there as a sergeant.
3 team until you've completed SWAT school. 3 Any time that you have a wanted, armed individual
4 As we sit here today, do you have any 4 that does not want to be apprehended or captured
5 knowledge of that? 5 that's in an apartment complex or even sometimes
6 A_ That you can't complete entry unless | 6 in acondominium, where there's two different
7 you've completed the SWAT school? | had no 7 types of structures -- a townhouse -- you can
8 knowledge of that, no. 8 see -- we have seen and we do know from our
9 Q_ Okay. And also, Russ, you talked about 9 experience, and we have seen it live, where people
10 providing some screenshots of text messages /10 will actually kick through an apartment wall to
11 between you and Lieutenant O'Daniel regarding 11 escape and go into another apartment or dwelling.
12 getting authorization for this -- this -- this 12 And you could potentially create a
13 search warrant. 13 hostage situation with something like that,
14 Did you ever provide those? 14 because they're trying to flee. They are armed.
15 A_ | believe | gave them -- oh, God, it's /15 They have a gun. Those people don't know them.
16 been so long. | believe | gave them tothe CIRT (16 You don't know what that individual's mindset is
17 guys. It would have been Roth. 17 going to be.
18 Q_ Okay. 18 So that -- that -- that's a very, very,
19 A_|think | gave them to him. | |19 very critical piece there, to ensure that you try
20 thought -- | thought | did. But | know that he -- 20 to avoid having that happen, because of those poor
21 it's been so long, | can't tell -- | don't -- | 21 people that are there in that other residence.
22 thought | did is my answer. Yeah. 22 That's a safety issue. Especially when you know
23 Q_ So, Russ, you talked about -- and quite |23 you're dealing with somebody that's got a
24 afew people have talked about it. |24 propensity for violence, that's also committed the
25 One of the reasons to use the CET was an _ | 25 crime of murder or -- and we're looking for a
119 121
1 incident where a guy kicked through an 1 murder weapon and they're gang members, so --
2 apartment -- the apartment stucco into another 2 Q_In your -- so have you seen that more
3 unit. 3 than one time?
4 Do you remember talking about that? 4 A Oh, yes. I've seen somebody kick
5 A Can you -- refer a little bit more, 5 through a wall more than once, yeah.
6 please? 6 Q_ How long does that take?
7 Q_ Sure. I'll read you a quick quote. And 7 A_ Depends on how good they are and how -
8 it's from page 42 -- 8 if they can tunnel through -- if they hit the
9 A Okay. | 9 studs, they might have to kick it again. Because
10 Q_ -- of your statement. "I've seen it 10 you know how houses are built in Las Vegas or
11 evenin NV. Guys will kick through -- through the | 11 apartment homes. You -- usually they're -- you
12 apartment stucco and go into the next apartment, | 12 know, depending on how they frame it and, you
13 and then we could create a potential hostage 13 know, how the walls are built -- | can't tell you,
14 situation." 14 because I'm not in construction.
15 A Okay. 15 But, you know, if -- they can kick
16 Q_ End quote. 16 through and they can tunnel through anything. If
17 A Okay. 17 someone wants to escape bad enough, they can get
18 Q_ Can you explain -- several of the SWAT | 18 through -- they can create a hole and get through,
19 guys have brought up that situation. 19 especially skinny guys. They can — they can
20 Can you tell me more about that? 20 really tunnel through some stuff and -- and create
21 A_ That situation or, like, are you 21 some serious havoc.
22 implying, like, that we have seen that happen 22 Q_ And so my question was - if you know,
23 before on previous operations? 23 you know; if you don't, you don't -- what's the
24 Q_ Yes. 24 fastest you have seen somebody tunnel through --
25 A_ So -- and | think I'm referring to the 25_ kick through a wall?
, = wv

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122 124
1 A_ | couldn't tell you how fast it took 2 er CE Ee CUURT REPORTS
2 them, because | didn't know how -- | didn't -- | ?
3 wasn't there to see them actually do it. But | eee oe:
4 can say that they can move ratherly [sic] quick if a a
5 needed in order to escape and flee. z
6 Q Okay. | wanted to ask you really S I, Heidi K. Konsten, Certified Court Reporter
7 briefly about the second individual in the unit. 6 licensed by the State of Nevada, do hereby certify
8 Do you remember there being a second 7 that I reported the deposition of RUSSELL BACKMAN,
9 individual? 8 commencing on October 3, 2024, at 1:10 p.m.
10 A Yes, | do. 9 Prior to being deposed, the witness was duly
11 Q And what happened with that individual? 10 sworn by me to testify to the truth. I thereafter
12 A As far as? 11 transcribed my said stenographic notes via
7 . 12 computer-aided transcription into written form,
13 Q__ Did you -- was it you who apprehended 13 and that the transcript is a complete, true and
14 him, or somebody else? 14 accurate transcription and that a request was not
15 A_ | grabbed him off the wall. 15 made for a review of the transcript.
16 Q Okay. 16 I further certify that I am not a relative,
17 A | apprehended him. 17. employee or independent contractor of counsel or
18 Q And as you sit here today, do you have 18 any party involved in the proceeding, nor a person
19 any idea who he is? 19 financially interested in the proceeding, nor do I
20 A No. 20 have any other relationship that may reasonably
7 21 cause my impartiality to be estioned.
21 Q Okay. Russ, | don't think | have any 22 eee a, I have set my hand in my
22 other questions. 23 office in the County of Clark, State of Nevada,
23 Russ, having -- now we've sat here fora jos this october 21, 2024.
24 couple of hours. Are there any answers that you | 25 Wee Porn
25 have given today that you wanted to go back or Heidi K. Konsten, RPR, CCR No. 845
123 125
1 change or modify? 1 DECLARATION OF DEPONENT
2 A No. 2 I, RUSSELL BACKMAN, deponent herein,
3 Q_siI've allowed you time to answer all of 3 do hereby declare under penalty of perjury that I
4 my questions; correct? 4 have read the within and foregoing transcription of
5 A Correct. 5 my testimony taken on October 3, 2024, at Las
6 MS. MURPHY: All right. 6 Vegas, Nevada, and that the same is a true record
7 MR. ANDERSON: No questions. 7 of the testimony given by me at the time and place
8 THE VIDEOGRAPHER: Okay. One moment. | & hereinabove set forth, with the following
9 This concludes the video-recorded 9 exceptions:
10 deposition of Russell Backman taken on 10
11 October 3rd, 2024. We are going off the video a ERRATA SHEET
12 record, and the time is 3:30 p.m. 12 PAGE LINE SHOULD READ: REASON FOR CHANGE:
13 THE COURT REPORTER: Counsel, do you | 23
14 need a copy of the transcript? a
15 MR. ANDERSON: Yes, please. 15
16 (Whereupon, the deposition 16
17 concluded at 3:30 p.m.) 17
18 teen 18
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